Case 3:10-cr-00444-JAG Document 3 Filed 11/22/10 Page 1 of 50

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,
Plaintiff,

Vv.

fl] VICTOR COLON-BENCH, aka “Yogi,”
“El Loco,” “El Father”

(Counts ONE through SIX)

[2] CHRISTIAN ARES-FELICIANO, aka
“Christian Bolillo,” “Bolillo,”

(Counts ONE through SIX)

[3] CARLOS FERNANDEZ-RODRIGUEZ,
aka “Bebe el Gordo,”

(Counts ONE through SIX)

[4] FELIX OMAR SANCHEZ-HERNANDEZ,

aka “Omar el Mono,”

(Counts ONE through SIX)

[5] MIGDALIA GUZMAN-RIVERA, aka
“Doca,”

(Counts ONE through FIVE)

[6] JUAN GUERRA-GUZMAN, aka “Tato,”
“Tatito,”

(Counts ONE through SIX)

[7] JOSE ALMODOVAR-ALOMAR, aka
“Papito Severa,”

(Counts ONE through SIX)

[8] YARET NAVEDO-MELENDEZ, aka
“Fifty,”

(Counts ONE through SEX)

[9] KERMIT RIVERA-GONZALEZ aka
“Kelmi,” “Bigote,”

(Counts ONE through SIX)

[10] EDWARD D. MALDONADO-
GONZALEZ, aka “Waro”

(Counts ONE through SIX)

[li] EMANUEL SANCHEZ-RIOS, aka
“Manuel el Quemao,”

(Counts ONE through SIX)

[12] ENRIQUE A. MONTANER-ACEVEDO,
aka “Quique,” “Kike,”

(Counts ONE through SIX)

[13] GILBERTO TORRES-SERRANO, aka

INDICTMENT

FILED UNDER SEAL

CRIMINALNO. 10- 77% Hg

Ss fm

Zz bee
Violations: mF Fr

ro cau =
(COUNT ONE) ~3 FES
Title 21, United States Code, Section§é 3 2a2
841(a)(1), 846, and 860 eB

(COUNT TWO
Title 21, United States Code. §§ 841(a)(1)
and 860 and Title 18, United States Code, § 2

(COUNT THREE)
Title 21, United States Code, §§841(a)(1) and
860 and Title 18, United States Code, § 2

(COUNT FOUR)
Title 21, United States Code, §§ 841(a)(1)
and 860 and Title 18, United States Code, § 2

(COUNT FIVE)
Title 21, United States Code, §§ 841(a)(1)
and 860 and Title 18, United States Code,§ 2

(COUNT SIX)
Title 18, United States Code, § 924(0)

Narcotics Forfeiture Allegation
Title 21, United States Code, § 853 and Rule
32.2(a) F.R.C.P.

(SIXCOUNTS)

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United States of America vs, Victor Colén-Bench., et al.

“Berto,”
(Counts ONE through SIX)

{14] KELVIN TANCO-TORRES, aka “Bin
Laden”

(Counts ONE through STX)

[15] JUAN RUIZ-DIAZ, aka “Pra Pra,”
(Counts ONE through SIX)

[16] JOHN DOE #1, aka “Anto,”

(Counts ONE through FIVE)

[17] JORGE LOPEZ-ADORNO, aka
“Minina,”

(Counts ONE through FIVE):

[18] OSCAR NAVARRO-LLOPIS, aka
“Cali,”

(Counts ONE through FIVE)

[19] VICTOR ANTONNETI-SANTIAGO, aka
“Vitorio,”

(Counts ONE through FIVE)

[20] HERIBERTO CRUZ-RODRIGUEZ, aka
“Herisito,” “Heri,” “Heric,”

(Counts ONE through FIVE)

[21] IRVING JOEL ROMERO-COLON, aka
“Joel Fino,”

(Counts ONE through FIVE)

[22] VICTOR GONZALEZ-VAZQUEZ, aka
“Bebe Miller,”

(Counts ONE through SIX)

[23] JOSE LUIS MALDONADO-PERALTA,
aka “Domi,”

(Counts ONE through FIVE)

[24] JOHN DOE #2, aka “Rafito,” “Rafa,”
Rafi,” .

(Counts ONE through FIVE)

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25] JOHN DOE #3, aka “Pepa,”

(Counts ONE through FIVE)

[26] DAVID CORREA-TORRES, aka “David
Pareha,”

(Counts ONE through FIVE)

[27] MICHAELCRUZ-GONZALEZ, aka
“Mikey Mafia,”

(Counts ONE through SIX)

{28] JORGE DEL VALLE-MELENDEZ, aka
“Holi,” “Holly” “Hollow Point,”

(Counts ONE through SIX)

[29] ELMER ALONSO-O’NEILL, aka
“Gordo,”

(Counts ONE through FIVE)

[30] CARLOS NEGRON-OLIVELLA, aka
“Carlosmi,” “Carlos Mil,” “Carlitos,”
(Counts ONE through SIX)

[31] JOSE L. BENITEZ-RAMOS, aka
“Junito,” “Bonito,”

(Counts ONE through SIX)

[32] ALEX RODRIGUEZ-CIRILO, aka “Alex
Tripleta,”

(Counts ONE through SIX)

[33] NESTOR VELLON-GONZALEZ, aka
“Nesti,”

(Counts ONE through FIVE)

[34] CARLOS VERDEJO-PICART, aka
“Picar,”

(Counts ONE through FIVE)

[35] JULIO CRUZ-GUTIERREZ, aka “Julio
Palanca,” “Palanca,”

(Counts ONE through FIVE)

[36] CARLOS M. GARCIA-HERNANDEZ,
aka “Bebeo Trenzas,” “Bebe Trenzas,”

“Trenzas,”
(Counts ONE through FIVE)

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37

JOHN DOE #4, aka “Foot Locker,”

(Counts ONE through FIVE)

[38] RAFAEL TORRES-PELLOT, aka
“Caballo Loco,” “Junior,”
(Counts ONE through FIVE)

[39] PABLO TORRES-COLLAZO, aka
“Pablito”
(Counts ONE through FIVE)

[40] WILFREDO ALICEA-TORRES, aka
“Dinero,”
(Counts ONE through FIVE)

[41] NOEL CRUZ-GARCIA, aka “Torito,”
(Counts ONE through FIVE)

[42] SANTOS JEMENEZ-VERDEJO, aka
“Santi,”

(Counts ONE through FIVE}

[43] RAYMOND NAVARRO-LLOPIZ, aka
Bebo,”
(Counts ONE through FIVE)

[44] ISRAEL REYES-COLON, aka “Chino,”
“Chino Cabo,”
(Counts ONE through SIX)

[45] KAREN MICHELLE VALCARCEL-
CRUZ, aka “Prieta,”
(Counts ONE through FIVE)

[46] NELLY RIVERA-PICART
(Counts ONE through FIVE)

[47] LUZ MONGE-FIGUEROA, aka
“Yesenia,”
(Counts ONE through FIVE)

[43] FLOR RIVERA-GONZALEZ
(Counts ONE through FIVE)

[49] GLORIMAR VELAZQUEZ-RIVERA,
aka “Mother,”
(Counts ONE through FIVE)

[50] RAFAEL FUENTES-ORTIZ, aka
“Gaby,” “Makie,”
(Counts ONE through FIVE)

[51] JOSE GUTIERREZ-ALVAREZ, aka
“Pepinillo,”
(Counts ONE through FIVE)

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United States of America vs. Victor Colén-Bench, et al.

52] JOHN DOE #5, aka “Conejo,” “Goofy,”

(Counts ONE through FIVE)
] JOHN DOE #6, aka “Ramon”

(Counts ONE through FIVE)

[54] ROBERT HERNANDEZ-COLON, aka
“Coli,”

(Counts ONE through SIX)

[55] VICTOR FIGUEROA-IRIZARRY, aka
“Peca,”

(Counts ONE through SEX)

[56] PABLO ANDRADES-RODRIGUEZ, aka
“Pablito,” “El Gordo”

(Counts ONE through SIX)

[57] ALEXANDER MUNIZ-QUINONES aka
“Vieques,”

(Counts ONE through SIX)

{58] LUIS APONTE-PEDROZA, aka “Luis
Felix,”

(Counts ONE through FIVE)

[59] JOSE RIVERA-HERNANDEZ, aka
“Nono,” “Toston,” “Toton,” “Totonflear,”
(Counts ONE through FIVE)

[60] JO OE#7 , aka “Sisen”

ue

rm seed
(Counts ONE through FIVE)
[61] JOSE CRUZ-MELENDEZ, aka “Cheo,”
(Counts ONE through FIVE)
[62] RAMON COLON-REAL, aka “Kike,”

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United States of America vs. Victor Colén-Bench, et al.

(Counts ONE through FIVE)
[63] STEVE CARRASQUILLO-BERMUDEZ,
aka “Flaco,” “Chino,”
(Counts ONE through FIVE)
[64] JONATHAN GARCTIA-LANDOL, aka
“Cachete,”
(Counts ONE through FIVE)
- [65] RICARDO GUERRERA-
VIZCARRONDO, aka “Ricky,”
(Counts ONE through FIVE)
[66JEDWIN ANDINO-ROBLES, aka
“Chango,”
(Counts ONE through SIX)
[67] EDWARD ANDINO-ROBLES, aka
“Chango,” “Changuito,”
(Counts ONE through FIVE)
[68] CHRISTIAN ANDINO-ARROYO, aka
“Christian Finfo,”
(Counts ONE through FIVE)
[69] HECTOR ANDINO-MATIAS, aka
“Finfo,”
(Counts ONE through FIVE)
- [70] CARMELO E. RIVERA-RIVERA
(Counts ONE through FIVE)
[71] ERNEST LOPEZ-ENCARNACION, aka
“Chino,” “Nesti,”
(Counts ONE through FIVE)
[72] JOHNNY FONTANEZ-GONZALEZ,
aka “Chopa,”
(Counts ONE through FIVE)
[73] MANUEL RIVERA-SERRANO, aka
“Kike,”
(Counts ONE through FIVE)
[74] ALEJANDRO COLON-DE LA CRUZ,
aka “Monacillo,”
(Counts ONE through FIVE)
[75] WILFREDO STERRA-MERCADO, aka
“Pichi,” “Peachy,”
(Counts ONE through FIVE)
[76] VLADIMIR SIERRA-MERCED, aka
“Bebe,”,
(Counts ONE through FIVE)
[77] MARANGELIE ROMAN-AYALA, aka
“Mara,”
(Counts ONE through FIVE)
[78] NOEMI HERNANDEZ-MUNIZ
(Counts ONE through FIVE)
[79] JESSICA CALDERON-ALVARADO

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United States of America vs. Victor Colén-Bench, et al.

(Counts ONE through FIVE)

[80] YOLIMAR CALDERON ALVARADO,
aka “Tweety,”

[81] LINETTE HERNANDEZ-GONZALEZ
(Counts ONE through FIVE)

[82] REBECCA RIVERA-SANCHEZ, aka
“Becky,”

(Counts ONE through FIVE)

[83] JOSE GOMEZ-DEL VALLE

(Counts ONE through FIVE)

[84] FRANCHESCA MORALES-
FONTANEZ, aka “Chenesca,”

(Counts ONE through FIVE)

[85] ROSA TORRES-CASTRO, aka “Sasha,”

(Counts ONE through FIVE)

[86] DAVID ECHEVARRIA-LOPEZ, aka
“David Chachi,”

(Counts ONE through FIVE)

[87} ALEXIS CAJIGAS-ROSARIO, aka “El
Menor,”

(Counts ONE through FIVE)

[88] MANUEL DIAZ-DE JESUS, aka
“Prieto,” “Domi,”

(Counts ONE through FIVE)

[89] MANUEL LOPEZ-BLANCO, aka
“Domi,”

(Counts ONE through FIVE)

[90] ANGEL L. PAGAN-RENTAS, aka
“Papito,” “Papote,” “Papotito”

(Counts ONE through FIVE)

[91] JESUS CRUZ-RODRIGUEZ, aka
“Mamel,”

(Counts ONE through FIVE)

[92] MIGUEL GONZALEZ-NIEVES aka
“Migue,”

(Counts ONE through FIVE)

[93] JUAN MARTINEZ-CRUZ, aka “Tito,”
(Counts ONE through FIVE)

[94] IVAN MATOS-RIOS, aka “Canario,”
“Jan M. Soma Robula,” “Jean M. Soma
Robula,”

(Counts ONE through FIVE)

[95] RICARDO MATOS-RIOS, aka “Chapu,”
(Counts ONE through FIVE)

[96] SAMMY MALDONADO-LOPEZ
(Counts ONE through FIVE)

[97] EDWIN ROSARIO-PADILLA, aka
“Macho,”

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United States of America vs. Victor Col6n-Bench, et al,

(Counts ONE through FIVE)
[98] NELSON RIVERA-BENITEZ, aka
“Papa,” oe
(Counts ONE through FIVE)
[99] JOSE RODRIGUEZ-PEREZ
(Counts ONE through FIVE)
[100] JUAN NAZARIO-RODRIGUEZ,, aka
“Nazario,”
(Counts ONE through FIVE)
[101] PEDRO VEGA-ORTOLAZA, aka “Hari
el Susio,” “Hari,”
(Counts ONE through FIVE)

_ [£02] ANGEL RAMOS-CARRERAS, aka
“Bambam,”
(Counts ONE through FIVE)
[103] ALBA CABRERA-MINAYA
(Counts ONE through FIVE)
[104] GUSTAVO SANCHEZ-VAZQUEZ
(Counts ONE through FIVE)
{105] ABIMAEL ADORNO-MUNIZ
(Counts ONE through FIVE)
[106] LESTER RIVERA-GARCIA
(Counts ONE through FIVE)
[107] DAVID VAZQUEZ-SEGARRA, aka
“Gago,”
(Counts ONE through FIVE)
[108] ANTONIO DIAZ-RIVERA, aka “Bebe,”
(Counts ONE through FIVE)
[109] JORGE ROBLES-RIVERA, aka
“Jorgito,”
(Counts ONE through FIVE)
[110] JOGE ZAMORA-HERNANDEZ, aka
“Samora,”
(Counts ONE through FIVE)
[111] JUAN RIVERA-GONZALEZ, aka
“Papa,”
(Counts ONE through FIVE)
[112] VICTOR L. RIVERA-ESQUILIN, aka
“Luisito,” “Bebe Villa,”
(Counts ONE through FIVE)
[113] EDISON MULERO-BAEZ, aka “Teri,”
(Counts ONE through FIVE)
[114] JOSE RIOS-MELENDEZ, aka “Tony,”
“Voltio,”
(Counts ONE through FIVE)
[115] HECTOR M. MARRERO-GARCIA,
aka “Guason,”
(Counts ONE through FIVE)

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United States of America vs. Victor Colén-Bench, et al,

[116] ALEXANDER LEE-RAMIREZ, aka
“Chino,”

(Counts ONE through FIVE)

[117] ANDRES PENA-DE JESUS, aka
“Locura,”

(Counts ONE through FIVE)

[118] JUAN ROMAN-LOPEZ, aka “Pito 38,”
(Counts ONE through FIVE)

[119] LUIS SALGADO-GARCIA, aka
“Gordo,”

(Counts ONE through FIVE)

[120] JOHN DOE #8, aka “Alex Panti,”

re |
ae

ek ‘

(Counts ONE through FIVE)

[121] EDWIN REYES-MATOS, aka “Chiwi,”
(Counts ONE through FIVE)

[122] JOSE VILLALOBOS-CUEVAS, aka
“Pichi,” “Peachy,”

(Counts ONE through FIVE)

[123] JOSE PEREZ-CRUZ

(Counts ONE through FIVE)

[124] ROSA NIEVES-ARROYO

(Counts ONE through FIVE)

[125] NORBERTO RIVERA-GONZALEZ,
aka “Junito Barber,”

(Counts ONE through FIVE)

[126] JUAN L. RODRIGUEZ-PAGAN, aka
“Juan Luis,

(Counts ONE through FIVE)

[127] ANA O. GARCTA-GONZALEZ
(Counts ONE through FIVE)

[128] LEONARDO GUERRERA-ALVAREZ,
aka “Leni,”

(Counts ONE through FIVE)

129] JOHN DOE #9, aka “Brian,”

rae fh ene iT

(Counts ONE through FIVE)

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United States of America vs. Victor Colén-Bench, ef al. Page 10

[130] JOHN DOE #10, aka “Juan Carlos,”
“Jan Carlos,”

Ne
“a

(Counts ONE through FIVE)

[131] JOHN DOE #11, aka “Manuel Barba,”

“Manuel,”

(Counts ONE through FIVE)
[132] JOHN DOE #12, aka “Julises,” “Julice,”

(Counts ONE through FIVE)

Defendants.

THE GRAND JURY CHARGES:
COUNT ONE

Beginning on a date unknown, but no later than in or about the year 2007, and continuing
up to and until the return of the instant Indictment, in the Municipality of San Juan, District of
Puerto Rico and within the jurisdiction of this Court,

[1] VICTOR COLON-BENCH, aka “Yogi,” “El Loco,” “El Father”

[2] CHRISTIAN ARES-FELICIANO, aka “Christian Bolillo,” “Bolillo,”
[3] CARLOS FERNANDEZ-RODRIGUEZ, aka “Bebe el Gordo,”

[4] FELIX OMAR SANCHEZ-HERNANDEZ, aka “Omar el Mono,”

[5] MIGDALIA GUZMAN-RIVERA, aka “Doca,”

[6] JUAN GUERRA-GUZMAN, aka “Tato,” “Tatito,”
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United States of America vs. Victor Colén-Rench, et al, Page 11

[7] JOSE ALMODOVAR-ALOMAR, aka “Papito Severa,”

[8] YARET NAVEDO-MELENDEZ, aka “Fifty,”

[9] KERMIT RIVERA-GONZALEZ aka “Kelmi,” “Bigote,”

{10] EDWARD D. MALDONADO-GONZALEZ, aka “Waro”

[11] EMANUEL SANCHEZ-RIOS, aka “Manuel el Quemao,”

[12] ENRIQUE A. MONTANER-ACEVEDO, aka “Quique,” “Kike,”
[13] GILBERTO TORRES-SERRANO, aka “Berto,”

f{14] KELVIN TANCO-TORRES, aka “Bin Laden”

[15] JUAN RUIZ-DIAZ, aka “Pra Pra,”

[16] JOHN DOE 41, aka “Anto,”

[17] JORGE LOPEZ-ADORNO, aka “Minina,”

[18] OSCAR NAVARRO-LLOPIS, aka “Cali,”

[19] VICTOR ANTONNETI-SANTIAGO, aka “Vitorio,”

[20] HERIBERTO CRUZ-RODRIGUEZ, aka “Herisito,” “Heri,” “Heric,”
[21] IRVING JOEL ROMERO-COLON, aka “Joel Fino,”

[22] VICTOR GONZALEZ-VAZQUEZ, aka “Bebe Miller,”

[23] JOSE LUIS MALDONADO-PERALTA, aka “Domi,”

[24] JOHN DOE #2, aka “Rafito,” “Rafa,” Rafi,”

{25] JOHN DOE #3, aka “Pepa,”

[26] DAVID CORREA-TORRES, aka “David Parcha,”

[27] MICHAELCRUZ-GONZALEZ, aka “Mikey Mafia,”

[28] JORGE DEL VALLE-MELENDEZ, aka “Holi,” “Holly,” “Hollow Point,”
[29] ELMER ALONSO-O’ NEILL, aka “Gordo,”

[30] CARLOS NEGRON-OLIVELLA, aka “Carlosmi,” “Carlos Mil,” “Carlitos,”
[31] JOSE L. BENITEZ-RAMOS, aka “Junito,” “Bonito,”

[32] ALEX RODRIGUEZ-CIRILO, aka “Alex Tripleta,”

[33] NESFOR VELLON-GONZALEZ, aka “Nesti,”

[34] CARLOS VERDEJO-PICART, aka “Picar,”

[35] JULIO CRUZ-GUTIERREZ, aka “Julio Palanca,” “Palanca,”
[36] CARLOS M. GARCIA-HERNANDEZ, aka “Bebeo Trenzas,” “Bebe Trenzas,”
“Trenzas,”

[37] JOHN DOE # 4, aka “Foot Locker,”

[38] RAFAEL TORRES-PELLOT, aka “Caballo Loco,” “Junior,”
[39] PABLO TORRES-COLLAZO, aka “Pablito”

[40] WILFREDO ALICEA-TORRES, aka “Dinero,”

[41] NOEL CRUZ-GARCIA, aka “Torito,”

[42] SANTOS JIMENEZ-VERDEJO, aka “Santi,”

[43] RAYMOND NAVARRO-LLOPIZ, aka Bebo,”

[44] ISRAEL REYES-COLON, aka “Chino,” “Chino Cabo,”

[45] KAREN MICHELLE VALCARCEL-CRUZ, aka “Prieta,”

[46] NELLY RIVERA-PICART

[47] LUZ MONGE-FIGUEROA, aka “Yesenia,”

[48] FLOR RIVERA-GONZALEZ

[49] GLORIMAR VELAZQUEZ-RIVERA, aka “Mother,”

[50] RAFAEL FUENTES-ORTIZ, aka “Gaby,” “Makie,”’

[51] JOSE GUTIERREZ-ALVAREZ, aka “Pepinillo,”

[52] JOHN DOE #5, aka “Conejo,” “Goofy,”

[53] JOHN DOE #6, aka “Ramon”
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United States of America vs. Vietor Colén-Bench, et al. , Page 12

[54] ROBERT HERNANDEZ-COLON, aka “Coli,”

[55] VICTOR FIGUEROA-IRIZARRY, aka “Peca,”

[56] PABLO ANDRADES-RODRIGUEZ, aka “Pablito,” “HY Gordo”
[57] ALEXANDER MUNIZ-QUINONES aka “Vieques,”

[58] LUIS APONTE-PEDROZA, aka “Luis Felix,” »

[59] JOSE RIVERA-HERNANDEZ, aka “Nono,” “Toston,” “Toton,” “Totonflear,”
[60] JOHN DOE#7, aka “Sisen”

[61] JOSE CRUZ-MELENDEZ, aka “Cheo,”

[62] RAMON COLON-REAL, aka “Kike,”

[63] STEVE CARRASQUILLO-BERMUDEZ, aka “Flaco,” “Chino,”
[64] JONATHAN GARCIAS-LANDOL, aka “Cachete,”
[65] RICARDO GUERRERA-VIZCARRONDO, aka “Ricky,” ”

[66] EDWIN ANDINO-ROBLES, aka “Chango,”

[67] EDWARD ANDINO-ROBLES, aka “Chango,” “Changuito,”
[68] CHRISTIAN ANDINO-ARROYO, aka “Christian Finfo,”

[69] HECTOR ANDINO-MATIAS, aka “Finfo,” .

[70] CARMELO E. RIVERA-RIVERA

[71] ERNEST LOPEZ-ENCARNACION, aka “Chino,” “Nesti,”

[72] JOHNNY FONTANEZ-GONZALEZ, aka “Chopa,” .

[73] MANUEL RIVERA-SERRANO, aka “Kike,”

[74] ALEJANDRO COLON-DE LA CRUZ, aka “Monacillo,”

[75] WILFREDO SIERRA-MERCADO, aka “Pichi,” “Peachy,”

[76] VLADIMIR SDERRA-MERCED, aka “Bebe,”

[77] MARANGELIE ROMAN-AYALA, aka “Mara, ”

[78] NOEMI HERNAN DEZ-MUNIZ

[79] JESSICA CALDERON-ALVARADO

{80] YOLIMAR CALDERON ALVARADO, aka “Tweety,”

[81] LINETTE HERNANDEZ-GONZALEZ

{82] REBECCA RIVERA-SANCHEZ, aka “Becky,”

[83] JOSE GOMEZ-DEL VALLE

[84] FRANCHESCA MORALES-FONTANEZ, aka “Chenesca,”

[85] ROSA TORRES-CASTRO, aka “Sasha,”

[86] DAVID ECHEVARRIA-LOPEZ, aka “David Chachi,”

[87] ALEXIS CAJIGAS-ROSARIO, aka “El Menor,”

[88] MANUEL DIAZ-DE JESUS, aka “Prieto,” “Domi,”

[89] MANUEL LOPEZ-BLANCO, aka “Domi,”

[90] ANGEL L. PAGAN-RENTAS, aka “Papito,” “Papote,” “Papotito
[91] JESUS CRUZ-RODRIGUEZ, aka “Mamel,”

[92] MIGUEL GONZALEZ-NIEVES aka “Migue,”

[93] JUAN MARTINEZ-CRUZ, aka “Tito,” ~

[94] FVAN MATOS-RIOS, aka “Canario,” “Jan M. Soma Robula,” “Jean M. Soma
Robula,”

[95] RICARDO MATOS-RIOS, aka «Chapu,”

[96] SAMMY MALDONADO-LOPEZ .

[97] EDWIN ROSARIO-PADILLA, aka “Macho,”

[98] NELSON RIVERA-BENITEZ, aka “Papa,”

[99] JOSE RODRIGUEZ-PEREZ

[100] JUAN NAZARIO-RODRIGUEZ, aka “Nazario,”

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[101] PEDRO VEGA-ORTOLAZA, aka “Hari el Susio,” “Hari,” _
[162] ANGEL RAMOS-CARRERAS, aka “Bambam,”

[103] ALBA CABRERA-MINAYA ,

[104] GUSTAVO SANCHEZ-VAZQUEZ

{105} ABIMAEL ADORNO-MUNIZ

[106] LESTER RIVERA-GARCIA

[107] DAVID VAZQUEZ-SEGARRA, aka “Gago,”

[108] ANTONIO DIAZ-RIVERA, aka “Bebe,”

[109] JORGE ROBLES-RIVERA, aka “Jorgito,”

{110} JOGE ZAMORA-HERNANDEZ, aka “Samora,”

[111] JUAN RIVERA-GONZALEZ, aka “Papa,”

[112] VICTOR L. RIVERA-ESQUILIN, aka “Luisito,” “Bebe Villa,”
[113] EDISON MULERO-BAEZ, aka “Teri,”

[114] JOSE RIOS-MELENDEZ, aka “Tony,” “Voltio,”

[115] HECTOR M. MARRERO-GARCIA, aka “Guason,”

[116] ALEXANDER LEE-RAMIREZ, aka “Chino,”
[117] ANDRES PENA-DE JESUS, aka “Locura,”
[118] JUAN ROMAN-LOPEZ, aka “Pito 38,”
[119] LUIS SALGADO-GARCTIA, aka “Gordo,”
[120] JOHN DOE #8, aka “Alex Panti,”

[121] EDWIN REYES-MATOS, aka “Chiwi,”
[122] JOSE VILLALOBOS-CUEVAS, aka “Pichi,” “Peachy,”
[123] JOSE PEREZ-CRUZ

[124] ROSA NIEVES-ARROYO

[125] NORBERTO RIVERA-GONZALEZ, aka “Junito Barber,”
[126] JUAN L. RODRIGUEZ-PAGAN, aka “Juan Luis,

[127] ANA O. GARCTA-GONZALEZ

[128] LEONARDO GUERRERA-ALVAREZ, aka “Leni,”
{129] JOHN DOE #9, aka “Brian,”

[130] JOHN DOE #10, aka “Juan Carlos,” “Jan Carlos,”

[131] JOHN DOE #11, aka “Manuel Barba,” “Manuel,”

[132] JOHN DOE #12, aka “Julises,” “Julice,”

the defendants herein, did knowingly and intentionally, combine, conspire, and agree with each

other and with diverse other persons known and unknown to the Grand Jury, to commit an

offense against the United States, that is, to knowingly and intentionally possess with intent to

distribute and to distribute controlled substances, to wit: in excess of two hundred and eighty

(280) grams of cocaine base (crack), a Schedule JI Narcotic Drug Controlled Substance; in

excess of one (1) kilogram of heroin, a Schedule I, Narcotic Drug Controlled Substance; in

excess of five (5) kilograms of cocaine, a Schedule II, Narcotic Drug Controlled Substance; in

excess of one hundred (100) kilograms of marijuana, a Schedule I, Controlled Substance; a
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mixture or substance containing detectable amounts of Oxycodone (commonly known as
Percocet), a Scehdule II Controlled Substance; and a mixture or substance containing detectable
amounts of Alprazolam (commonly known as Xanax), a Schedule IV Controlled Substance;
within one thousand (1,000) feet of the Vista Hermosa Public Housing Project, a housing facility
owned by a public housing authority; and the Evaristo Rivera Chevremont Elementary School;
all located within the Municipality of San Juan, Puerto Rico.

All in violation of Title 21, United States Code Sections 841(a)(1), 846 and 860.

I. OBJECT OF THE CONSPIRACY

The object of the conspiracy was to distribute controlled substances at the Vista Hermosa
Public Housing Project (“VHPHP”) and other areas within the Municipalities of San Juan, all for

significant financial gain and profit.

Il. MANNER AND MEANS OF THE CONSPIRACY

The manner and means by which the defendants and co-conspirators would accomplish
and further the object of the conspiracy, among others, included the following:

1. It was part of the manner and means of the conspiracy that the defendants and
their co-conspirators would purchase wholesale quantities of heroin, cocaine, marijuana,
Alprazolam (“Xanax”) and Oxycodone (“Percocet”), in order to distribute the same in street
quantity amounts at their drug distribution points located in the Vista Hermosa Public Housing
Project, in San Juan, Puerto Rico.

2. It was further part of the manner and means of the conspiracy that the defendants
and their co-conspirators would operate approximately twenty-five (25) different drug points
simultaneously at the Vista Hermosa Public Housing Project each identified by a different name,

color and/or seal.

3. ‘It was further part of the manner and means of the conspiracy that the leaders
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would schedule routine meetings in order to discuss issues affecting the drug trafficking
organization. These meetings were attended by not only the leaders, but also the drug point
owners and administrators, enforcers, and other persons of import. Among the issues discussed,
the defendants and their co-conspirators would set prices for the drug points as well as product
size, the locations of the drug points, and discuss enforcement of the rules and the appropriate .
punishment for violators.

4, It was further part of the manner and means of the conspiracy that some of the
defendants and their co-conspirators would weigh, “cut,” divide, and package the heroin,
cocaine, crack, and marijuana in distinctive “baggies” and/or “vials” in order to keep track of
their narcotics.

5. It was a further part of the manner and means of the conspiracy that some of the
cocaine purchased at wholesale quantities would be converted into crack cocaine, “cooked,” for
subsequent sale and distribution at their drug distribution points.

6. It was further part of the manner and means of the conspiracy that some of the
defendants and their co-conspirators would use apartments located within the Vista Hermosa
Public Housing Project in order to store and conceal heroin, cocaine base (“crack”), cocaine,
marijuana, Alprazolam (“Xanax”), Oxycodone (“Percocet”), drug paraphernalia, firearms,
ammunition, drug ledgers, and other records of the drug trafficking organization.

7. It was further part of the manner and means of the conspiracy that some of the
defendants and their co-conspirators would often package and prepare the narcotics in various
apartments located within the Vista Hermosa Public Housing Project, using those apartments as
“drug laboratories.”

8. It was a further part of the manner and means of the conspiracy that some of the

defendants and their co-conspirators would have access to apartments located within the Vista
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Hermosa Public Housing Project in order to abscond during law enforcement interventions
and/or initiatives aimed at disrupting their drug trafficking activities.

9. It was further part of the manner and means of the conspiracy that the defendants
and their co-conspirators would use two-way radios (“walkie-talkies” referred to as scanners) in
order to communicate with each other and to alert the presence of law enforcement agents or
members of rival gangs.

10. It was further part of the manner and means of the conspiracy that the defendants
anid their co-conspirators would use code names while communicating with each other, in
reference to the drug trafficking activities, through the two-way radios, in order to avoid
detection from law enforcement.

11. ‘Et was further part of the manner and means of the conspiracy that some of the
defendants and their co-conspirators would often act as “lookouts” at two to three strategically
located “observation points” within the Vista Hermosa Public Housing Project, in order to alert
other co-conspirators of the presence of law enforcement agents and/or rival drug traffickers. The
lookouts serviced all of the drug points. Each drug point paid ten dollars ($10) per shift and this
money was divided amongst the lookouts.

12. It was further part of the manner and means of the conspiracy that some of the
defendants and their co-conspirators would routinely possess, carry, brandish, and use firearms
to protect themselves, their drugs, and their drug trafficking organization.

i3. ‘It was further part of the manner and means of the conspiracy that members of the
drug trafficking organization would use force, violence, and intimidation in order to intimidate
rival drug trafficking organizations, and in order to discipline members of their own drug
trafficking organization.

14. It was further part of the manner and means of the conspiracy that the leaders of
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“the drug trafficking organization had final approving authority as to disciplinary action to be
imposed upon residents of the Vista Hermosa Public Housing Project and/or members of the
conspiracy, as well as enemies of the drug trafficking organization.

15. It was further part of the manner and means of the conspiracy that at times
material to this indictment that there would be different drug owners for the drugs sold at the
drug points, sometimes with two (2) persons owning the same drug. Within the conspiracy some
drug points would change names at the discretion of the owners or would close and reopen either
under the same name or anew name.

16. It was further part of the manner and means of the conspiracy that at times during
the conspiracy defendants and their co-conspirators’ would occupy different roles within the
conspiracy, often simultaneously. For example, a defendant could function simultaneously as a
runner at one of the drug points and as a seller at another drug point.

17. It was further part of the manner and means of the conspiracy that there would be
overlap in the participants of the different drug points.

18. ‘It was further part of the manner and means of the conspiracy that the drug points
would be relocated through different locations at the Vista Hermosa Public Housing Project to

avoid being detected by law enforcement.

Ill. ROLES OF THE MEMBERS OF THE CONSPIRACY

A. Leaders
Leaders directly controlled and supervised the drug trafficking activities at the drug
distribution points located at the Vista Hermosa Public Housing Project located within the
Municipality of San Juan, Puerto Rico. During the span of the conspiracy, leaders ‘purchased
multi-kilogram quantities of narcotics and oversaw the transportation and sale of such narcotics

by their subordinates at the Vista Hermosa Public Housing Project drug distribution point and
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other areas within the Municipality of San Juan. Leaders allowed members of the conspiracy to
carry firearms and ammunition in order to protect the drug distribution activities.

The following co-conspirator acted as a leader:

[1] VICTOR COLON-BENCH, aka “Yogi,” “El Loco,” “E] Father” is a main leader
of the drug trafficking organization.

In the yeat 2007, BENNY MEDINA-GARCIA had control of a drug distribution points
located at the Vista Hermosa Public Housing Project. Upon BENNY MEDINA-GARCIA’s
death in 2007, [1] VICTOR COLON-BENCH, aka “Yogi,” “El Loco,” “E] Father” became
a main leader of the drug trafficking organization, wherefore he controlled, through co-
defendants also acting as leaders, the drug distribution points located at Vista Hermosa Public
. Housing Project, located within the Municipality of San Juan, Puerto Rico. As a main leader, he
directly supervised the operations at Vista Hermosa Public Housing Project, received proceeds
from the distribution of narcotics sold during the span of his leadership in the conspiracy and was
in charge of maintaining control of all the drug distribution activities. He had the final approving
authority as to the discipline to be imposed upon residents of the Public Housing Project,
members of the conspiracy, as well as its enemies and rivals. [1] VICTOR COLON-BENCH,
aka “Yogi,” “EI Loco,” “El Father” was also known as the “owner” of the “uva” (purple),
Pepe Le Peu, Free Tempo, Transformers, Melaza, and Scarface drug points. He also possessed
firearms in furtherance of the drug trafficking organization.

B. Drug Point Owners/ Drug Point Administrators

At different times during the span of the conspiracy, the drug owners were responsible
for obtaining the narcotics, the processing, preparation, and the packaging of the drugs to be sold
at the drug points or, alternatively, for delegating that responsibility to other co-conspirators. At

times during the conspiracy, drug point owners would rent out their drug points to co-
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conspirators that were known as drug point administrators. The drug point administrators were in
turn responsible for obtaining the narcotics, the processing, preparation, and the packaging of the
‘drugs to be sold at the drug points or, alternatively, for delegating that responsibility to other co-
conspirators and had to pay rént to the drug point owner. In addition to the above-mentioned
drug point owner, the following co-conspirators acted as drug owners in this drug trafficking
organization:

[2] CHRISTIAN ARES-FELICIANO, aka “Christian Bolillo,” “Bolillo,” was also
known as the “owner” of the carita and “blancas” (white) drug points. He also acted as an
enforcer and possessed firearms in furtherance of the drug trafficking organization.

[3] CARLOS FERNANDEZ-RODRIGUEZ, aka “Bebe el Gordo,” was also known as
the “owner” of the Xanax and Percocet drug point, also known as the “pali and perco” drug
point. He also acted as an enforcer and possessed firearms in furtherance of the drug trafficking
organization.

[4] FELIX OMAR SANCHEZ-HERNANDEZ, aka “Omar el Mono,” was also
known as the “owner” or administrator of the Converse drug point. He also acted as an enforcer
and possessed firearms in furtherance of the drug trafficking organization.

[5] MIGDALIA GUZMAN-RIVERA, aka “Doca,” was also known as the “owner” of
- the champagne drug point.

[6] JUAN GUERRA-GUZMAN, aka “Tato,” “Tatito,” was also known as the
“owner” of the Army and “chinita” (orange) drug points and of the marijuana baggies sold at the
Jordan drug point. He also acted as an enforcer and possessed firearms in furtherance of the drug
trafficking organization.

[7] JOSE ALMODOVAR-ALOMAR, aka “Papito Severa,” was also known as the

“owner” of the “rojas” (red) drug point. He also possessed firearms in furtherance of the drug
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trafficking organization.

[8] YARET NAVEDO-MELENDEZ, aka “Fifty,” was also known as the “owner” of
the Rocawear drug point. He also acted as an enforcer and possessed firearms in furtherance of
the drug trafficking organization.

[9] KERMIT RIVERA-GONZALEZ aka “Kelmi,” “Bigote,” was also known as the
“owner” of the Beko drug point and as the administrator of the “blancas” (white) drug point. He
also acted as an enforcer and possessed firearms in furtherance of the drug trafficking
organization.

[10] EDWARD D. MALDONADO-GONZALEZ, aka “Waro” was also known as the
“owner” of the brown drug point. He also acted as an enforcer and possessed firearms in
furtherance of the drug trafficking organization.

[11] EMANUEL SANCHEZ-RIOS, aka “Manuel el Quemao,” was also known as the
“owner” of the “oro” (gold) drug point. He also acted as an enforcer, runner, drug processor, and
lookout. within the conspiracy and possessed firearms in furtherance of the drug trafficking
organization.

[12] ENRIQUE A. MONTANER-ACEVEDO, aka “Quique,” “Kike,” was also
known as the “owner” of the brown drug point and of the heroin and cocaine sold at the
Rocawear drug point carrying the RW seal. He also acted as an enforcer, runner, and seller
within the conspiracy and possessed firearms in furtherance of the drug trafficking organization.

[13] GILBERTO TORRES-SERRANO, aka “Berto,” was also known as the “owner”
or administrator of the Obama, Chucky, Avispa, and Ferrari drug points. He possessed firearms
in furtherance of the drug trafficking organization.

[14] KELVIN TANCO-TORRES, aka “Bin Laden” was also known as the “owner” or

administrator of the Vocero drug point. He possessed firearms in furtherance of the drug _
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trafficking organization.

[15] JUAN RUIZ-DIAZ, aka “Pra Pra,” was also known as the “owner” or
administrator of the “50 Cent,” Pink Panther, and Avispa drug points. He possessed firearms in
furtherance of the drug trafficking organization, Additionally, he also acted as a runner and as a
seller within the conspiracy.

[16] JOHN DOE #1, aka “Anto,” was also known as the “owner” or administrator of
the heroin and cocaine sold at the clear drug point.

[17] JORGE LOPEZ-ADORNO, aka “Minina,” was also known as the “owner” of the
Al Capone drug point and of the marijuana sold at the clear drug point. He would often process
his own brand of drugs for distribution at his drug points.

[18] OSCAR NAVARRO-LLOPIS, aka “Cali,” was also known as the “owner” or
administrator of the Converse and Macheteros drug points. Additionally, he also acted as a
runner within the conspiracy.

[19] VICTOR ANTONNETI-SANTIAGO, aka “Vitorio,” was also known as the
“owner” of the “creepy” marijuana at the Diablo Rojo and Rockero drug points.

[20] HERIBERTO CRUZ-RODRIGUEZ, aka “Herisito,” “Heri,” “Heric,” was also
known as the “owner” or administrator of the NBA, Pink Panther, and Al Capone drug points.

[21] IRVING JOEL ROMERO-COLON, aka “Joel Fino,” was also known as the
“owner” of the “oro” (gold) drug point. At times during the conspiracy he supplied marijuana to
the drug trafficking organization. In addition, he acted as a seller and as a drug processor within
the conspiracy.

[22] VICTOR GONZALEZ-VAZQUEZ, aka “Bebe Miller,” was also known as the
“owner” or administrator of the Godfather, Ecko, and Melaza drug points. He possessed firearms

in furtherance of the drug trafficking organization.
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[23] JOSE LUIS MALDONADO-PERALTA, aka “Domi,” was also known as the
“owner” of the cocaine baggies sold at the “‘rosita” (pink) drug point and as the administrator of
the champagne drug point.

[24] JOHN DOE #2, aka “Rafito,” “Rafa,” Rafi,” was also known as the “owner” or
administrator of the Cartier and Converse drug points. He also acted as a runner and as a seller
within the conspiracy.

{25} JOHN DOE #3, aka “Pepa,” was also known as the “owner” or administrator of
the Black Label drug point. He also acted as a runner and as a seller within the conspiracy.

[26] DAVID CORREA-TORRES, aka “David Parcha,” was also known as the
“owner” of the “amarillas” or yellow top vials of crack cocaine and the baggies with the NBA or
“difunto” (skull) seals. He was also known as the “owner” of the XXX and Lacoste drug points.
C. Enforcers

Enforcers did possess in furtherance of their drug trafficking crimes, carry, brandish, use,
and discharge firearms, as that term is defined at Title 18, U.S.C., § 921(a)(3), to protect the
leaders and members of the drug trafficking organization, the narcotics, the proceeds derived
from their sales, and to further accomplish the goals of the conspiracy. Enforcers often acted
upon instructions given by the leaders of this organization. Enforcers would often provide
protection to the drug trafficking organization’s drug distribution points. In addition to those
previously mentioned, the following individuals and others known and unknown to the Grand
Jury, acted as enforcers for the drug trafficking organization:

[27] MICHAELCRUZ-GONZALEZ, aka “Mikey Mafia,” acted as an enforcer for the
drug trafficking organization. He possessed firearms in furtherance of the drug trafficking
organization.

[28] JORGE DEL VALLE-MELENDEZ, aka “Holi,” “Holly,” “Hollow Point,”
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acted as an enforcer for the drug trafficking organization. He possessed firearms in furtherance
of the drug trafficking organization. Additionally, he also acted as a runner and as a drug

processor within the conspiracy.

D. Suppliers

The suppliers were the defendants and their co-conspirators that would perform or carry
out several acts within the conspiracy including but not limited to, supplying narcotics and/or
firearms to the drug distribution organization and/or drug distribution points located in the
Municipality of San Juan, Puerto, Rico, The following individuals and others known and
unknown to the Grand Jury, acted as seme: for the drug trafficking organization:

[29] ELMER ALONSO-O’NEILL, aka “Gordo,” supplied cocaine to the drug
trafficking organization. He also acted as a seller within the conspiracy.

[30] CARLOS NEGRON-OLIVELLA, aka “Carlosmi,” “Carlos Mil,” “Carlitos,”
supplied “creepy” marijuana, Percocet, and Xanax to the drug trafficking organization. He
possessed firearms in furtherance of the drug trafficking organization.

E. Runners

The runners worked under the direct supervision of the leaders of the drug trafficking
organization. They were responsible for providing sufficient narcotics to the sellers for further
distribution at the drug points. They were also responsible for collecting the proceeds of drug
sales and paying the street sellers. They would also supervise and make sure that there were
street sellers for every shift of the drug points. They would make schedules and prepare ledgers
to maintain accountability of the sales of the narcotics sold at the drug points. At various times,
they would be responsible for recruiting street sellers and additional runners. The runners had a
supervisory role within the conspiracy, as they would directly supervise on a daily basis, the

activities of multiple sellers, and the daily activities of the drug points.
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In addition to those previously mentioned, the following individuals and others known
and unknown to this Grand Jury acted as runners for the drug trafficking organization:

{31] JOSE L. BENITEZ-RAMOS, aka “Junito,” “Bonito,” acted as a runner for the
drug trafficking organization. Additionally, he would often act as a seller and possessed firearms
in furtherance of the drug trafficking organization.

[32] ALEX RODRIGUEZ-CIRILO, aka “Alex Tripleta,” acted as a runner for the
drug trafficking organization. Additionally, he also acted as a seller and possessed firearms in
furtherance of the drug trafficking organization.

{33] NESTOR VELLON-GONZALEZ, aka “Nesti,” acted as a runner for the drug
trafficking organization. Additionally, he also acted as a seller within the conspiracy.

[34] CARLOS VERDEJO-PICART, aka “Picar,” acted as a runner for the drug
trafficking organization. Additionally, he would often act as a seller within the conspiracy.

[35] JULIO CRUZ-GUTIERREZ, aka “Julio Paianca,” “Palanea,” acted as a runner
for the drug trafficking organization. Additionally, he would often act as a seller within the
conspiracy.

[36] CARLOS M. GARCIA-HERNANDEZ, aka “Bebeo Trenzas,” “Bebe Trenzas,”
“Trenzas,” acted as a runner for the drug trafficking organization. Additionally, he also acted as
a seller within the conspiracy.

[37] JOHN DOE #4, aka “Foot Locker,” acted as a runner for the drug trafficking .
organization. Additionally, he also acted as a seller within the conspiracy.

[38] RAFAEL TORRES-PELLOT, aka “Caballo Loco,” “Junior,” acted as a runner
for the drug trafficking organization. Additionally, he also acted as a seller within the
conspiracy.

[39] PABLO TORRES-COLLAZO, aka “Pablito” acted as a runner for the drug
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trafficking organization. Additionally, he also acted as a seller within the conspiracy.

[40] WILFREDO ALICEA-TORRES, aka “Dinero,” acted as a runner for the drug
trafficking organization. Additionally, he would often act as a seller within the conspiracy.

[41] NOEL CRUZ-GARCIA, aka “Torito,” acted as a runner for the drug trafficking
organization. Additionally, he would often act as a seller within the conspiracy.

[42] SANTOS JIMENEZ-VERDEJO, aka “Santi,” acted as a runner for the drug
trafficking organization. Additionally, he also acted as a seller within the conspiracy. .

[43] RAYMOND NAVARRO-LLOPIZ, aka Bebo,” acted as runner for the drug
trafficking organization. Additionally, he would often act as a seller and as 4 lookout within the
conspiracy.

[44] ISRAEL REYES-COLON, aka “Chino,” “Chino Cabo,” acted as runner for the
drug trafficking organization. Additionally, he also acted as a selier and possessed firearms in. -
furtherance of the drug trafficking organization.

[45] KAREN MICHELLE VALCARCEL-CRUZ, aka “Prieta,” acted as runner for
the drug trafficking organization. Additionally, she also acted as a seller, a drug processor, and as

a lookout during the conspiracy.

[46] NELLY RIVERA-PICART acted as runner for the drug trafficking organization,
Additionally, she also acted as a facilitator during the conspiracy. :

[47] LUZ MONGE-F IGUEROA, aka “Yesenia,” acted as runner for the drug
trafficking organization. Additionally, she would often act as a seller and as a facilitator by .
acting as a drug processor for the drug trafficking organization.

[48] FLOR RIVERA-GONZALEZ acted as runner for the drug trafficking
organization. Additionally, she would often act as a seller for the drug trafficking organization.

[49] GLORIMAR VELAZQUEZ-RIVERA, aka “Mother,” acted as a runner for the
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drug trafficking organization. Additionally, she acted as a seller within the conspiracy.

[50] RAFAEL FUENTES-ORTIZ, aka “Gaby,” “Makie,” acted as a runner for the
drug trafficking organization. Additionally, he acted as a seller within the conspiracy.

[51] JOSE GUT TERREZ-ALVAREZ, aka “Pepinillo,” acted as a runner for the drug
trafficking organization. Additionally, he acted as a seller within the conspiracy.

[52] JOHN DOE #5, aka “Conejo,” “Goofy,” acted as a runner for the drug trafficking
organization. Additionally, he acted as a seller and as a lookout within the conspiracy.

[53] JOHN DOE #6, aka “Ramon” acted as a runner for the drug trafficking
organization. Additionally, he acted as a seller and as a lookout within the conspiracy.

F, Sellers

The sellers would distribute street quantity amounts of heroin, crack cocaine, cocaine,
marijuana, Alprazolam (Xanax), and Oxycodone (Percocet). As sellers, they were accountable
for the drug proceeds and the narcotics sold at the drug distribution points. At times, sellers
would use two-way radios (“walkie-talkies,” “scanners”) in order to communicate with other
members of the conspiracy.

In addition to the above-mentioned defendants who also acted as sellers, the following
individuals and others known and unknown to the Grand Jury acted as sellers for the above
described drug trafficking organization:

[54] ROBERT HERNANDEZ-COLON, aka “Coli,” acted as a seller for the drug
trafficking organization, Additionally, he possessed firearms in furtherance of the drug
trafficking organization.

[55] VICTOR FIGUEROA-IRIZARRY, aka “Peca,” acted as a seller for the drug
trafficking organization. Additionally, he possessed firearms in furtherance of the drug

trafficking organization.
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[56] PABLO ANDRADES-RODRIGUEZ, aka “Pablito,” “El Gordo” acted as a
seller for the drug trafficking organization. ‘Additionally, he possessed firearms in furtherance of
the drug trafficking organization.

[57] ALEXANDER MUNIZ-QUINONES aka “Vieques,” acted as a seller for the drug:
trafficking organization. Additionally, he possessed firearms in furtherance of the drug
trafficking organization.

[58] LUIS APONTE-PEDROZA, aka “Luis Felix,” acted as a seller for the drug
trafficking organization. Additionally, he would often act as a drug processor within the
conspiracy.

[59] JOSE RIVERA-HERNANDEZ, aka “Nono,” “Toston,” “Toton,” “Totonflear,”
acted as a seller for the drug trafficking organization. Additionally, he would often act as a drug
processor within the conspiracy.

[60] JOHN DOE#7, aka “Sisen” acted as a seller for the drug trafficking organization.

[61] JOSE CRUZ-MELENDEZ, aka “Cheo,” acted asa seller for the drug trafficking
organization.

[62] RAMON COLON-REAL, aka “KKike,” acted as a seller for the drug trafficking
organization.

[63] STEVE CARRASQUILLO-BERMUDEZ, aka “Flaco,” “Chino,” acted as a
seller for the drug trafficking organization.

[64] JONATHAN GARCIA-LANDOL, aka “Cachete,” acted as a seller for the drug

trafficking organization.

[65] RICARDO GUERRERA-VIZCARRONDO, aka “Ricky,” acted as a seller for
the drug trafficking organization.

[66] EDWIN ANDINO-ROBLES, aka “Chango,” acted as a seller for the drug
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trafficking organization. Additionally, he possessed firearms in furtherance of the drug
trafficking organization.

[67] EDWARD ANDINO-ROBLES, aka “Chango,” “Changuito,” acted as a seller
for the drug trafficking organization.

{68] CHRISTIAN ANDINO-ARROYO, aka “Christian Finfo,” acted as a seller for
the drug trafficking organization. Additionally, he would often act as a lookout within the
conspiracy.

[69] HECTOR ANDINO-MATIAS, aka “Finfo,” acted as a seller for the drug
trafficking organization. Additionally, he would often act as a lookout within the conspiracy.

[70] CARMELO E. RIVERA-RIVERA acted as a seller for the drug trafficking
~ organization.

[71] ERNEST LOPEZ-ENCARNACION, aka “Chino,” “Nesti,” acted as a seller for
the drug trafficking organization.

[72] JOHNNY FONTANEZ-GONZALEZ, aka “Chopa,” acted as a seller for the drug
trafficking organization.

[73] MANUEL RIVERA-SERRANO, aka “Kike,” acted as a seller for the drug
trafficking organization.

[74] ALEJANDRO COLON-DE LA CRUZ, aka “Monacillo,” acted as a seller for the
drug trafficking organization.

[75] WILFREDO SIERRA-MERCADO, aka “Pichi,” “Peachy,” acted as a seller for
the drug trafficking organization. Additionally, he would often act as a lookout within the
conspiracy.

[76] VLADIMIR SIERRA-MERCED, aka “Bebe,” acted as a seller for the drug

trafficking organization. Additionally, he would often act as a lookout within the conspiracy.
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[77] MARANGELIE ROMAN-AYALA, aka “Mara,” acted as a seller for the drug
trafficking organization. Additionally, she would act as a facilitator within the conspiracy.

[78] NOEMI HERNANDEZ-MUNIZ acted as a seller for the drug trafficking
organization. Additionally, she would act as a facilitator within the conspiracy.

[79] JESSICA CALDERON-ALVARADO acted as a seller for the drug trafficking
organization. Additionally, she would often act as a facilitator by stashing narcotics belonging to
members of the drug trafficking organization in her apartment.

[80] YOLIMAR CALDERON ALVARADO, aka “Tweety,” acted as a seller for the
drug trafficking organization. Additionally, she would often act as a facilitator by stashing
narcotics belonging to members of the drug trafficking organization in her apartment.

[81] LINETTE HERNANDEZ-GONZALEZ acted as a seller for the drug trafficking
organization. Additionally, she would often act as a facilitator by stashing narcotics belonging to
members of the drug trafficking organization in her apartment.

[82] REBECCA RIVERA-SANCHEZ, aka “Becky,” acted as a seller for the drug
trafficking organization.

[83] JOSE GOMEZ-DEL VALLE acted as a seller for the dmg trafficking
organization.

[84] FRANCHESCA MORALES-FONTANEZ, aka “Chenesca,” acted as a seller for
the drug trafficking organization.

[85] ROSA TORRES-CASTRO, aka “Sasha,” acted as a seller for the drug trafficking
organization.

[86] DAVID ECHEVARRIA-LOPEZ, aka “David Chachi,” acted as a seller for the
drug trafficking organization.

[87] ALEXIS CAJIGAS-ROSARIO, aka “El Menor,” acted as a seller for the drug
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trafficking organization.
[88] MANUEL DIAZ-DE JESUS, .aka “Prieto,” “Domi,” acted as a seller for the drug
trafficking organization.
[89] MANUEL LOPEZ-BLANCO, aka “Domi,” acted as a seller for the drug
trafficking organization.
[90] ANGEL L. PAGAN-RENTAS, aka “Papito,” “Papote,” “Papotito” acted as a
seller for the drug trafficking organization.
(91] JESUS CRUZ-RODRIGUEZ, aka “Mamel,” acted as a seller for the drug
trafficking organization.
[92] MIGUEL GONZALEZ-NIEVES aka “Migue,” acted as a seller for the drug
trafficking organization.
[93] JUAN MARTINEZ-CRUZ, aka “Tito,” acted as a seller for the drug trafficking
organization.
[94] IVAN MATOS-RIOS, aka “Canario,” “Jan M. Soma Robula,” “Jean M. Soma
, Robula,” acted as a seller for the drug trafficking organization,
[95] RICARDO MATOS-RIOS, aka “Chapu,” acted as a seller for the drug trafficking
-organization.
[96] SAMMY MALDONADO-LOPEZ acted as a seller for the drug trafficking
organization.
[97] EDWIN ROSARIO-PADILLA, aka “Macho,” acted as a seller for the drug
trafficking organization. .
[98] NELSON RIVERA-BENITEZ, aka “Papa,” acted as a seller for the drug
trafficking organization.

[99] JOSE RODRIGUEZ-PEREZ acted as a seller for the drug trafficking organization.
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[100] JUAN RODRIGUEZ-NAZARIO, aka “Nazario,” acted as a seller for the drug
trafficking organization.

[101] PEDRO VEGA-ORTOLAZA, aka “Hari el Susio,” “Hari,” acted as a seller for
the drug trafficking organization.

[102] ANGEL RAMOS-CARRERAS, aka “Bambam,” acted as a seller for the drug
trafficking organization.

[103] ALBA CABRERA-MINAYA acted as a seller for the drug trafficking
organization.

[104] GUSTAVO SANCHEZ-VAZQUEZ acted as a seller for the drug trafficking
organization.

[105] ABIMAEL ADORNO-MUNIZ acted as a seller for the drug trafficking
organization. —

[106] LESTER RIVERA-GARCIA acted as a seller for the drug trafficking

organization. Additionally, he would often act as a lookout within the conspiracy.

[107] DAVID VAZQUEZ-SEGARRA, aka “Gago,” acted as a seller for the drug
trafficking organization. Additionally, he would often act as a lookout within the conspiracy.

[108] ANTONIO DIAZ-RIVERA, aka “Bebe,” acted as a seller for the drug trafficking
organization. Additionally, he would often act as a lookout within the conspiracy.

[109] JORGE ROBLES-RIVERA, aka “Jorgito,” acted as a seller for the drug
trafficking organization. Additionally, he would often act as a lookout within the conspiracy.

[110] JOGE ZAMORA-HERNANDEZ, aka “Samora,” acted as a seller for the drug
trafficking organization. Additionally, he would often act as a lookout within the conspiracy.

{111] JUAN RIVERA-GONZALEZ, aka “Papa,” acted as a seller for the drug

trafficking organization. Additionally, he would often act as a lookout within the conspiracy.
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[112] VICTOR L. RIVERA-ESQUILIN, aka “Luisito,” “Bebe Villa,” acted as a
seller for the drug trafficking organization. Additionally, he would often act as a lookout within
the conspiracy.

[113] EDISON MULERO-BAEZ, aka “Teri,” acted as a seller for the drug trafficking
organization. Additionally, he would often act as a lookout within the conspiracy.

[114] JOSE RIOS-MELENDEZ, aka “Tony,” “Voltio,” acted as a seller for the drag

-trafficking organization. Additionally, he would often act as a lookout within the conspiracy.

[£15] HECTOR M. MARRERO-GARCIA, aka “Guason,” acted as a seller for the
drug trafficking organization. Additionally, he would often act as a lookout within the
conspiracy.

[116] ALEXANDER LEE-RAMIREZ, aka “Chino,” acted as a seller for the drug
trafficking organization. Additionally, he would often act as a lookout within the conspiracy.

[117] ANDRES PENA-DE JESUS, aka “Locura,” acted as a seller for the drug
trafficking organization. Additionally, he would often act as a lookout within the conspiracy.

{118] JUAN ROMAN-LOPEZ, aka “Pito 38,” acted as a seller for the drug trafficking
organization. Additionally, he would often act as a lookout within the conspiracy. -

[119] LUIS SALGADO-GARCIA, aka “Gordo,” acted as a seller for the drug
trafficking organization. Additionally, he would often act as a lookout within the conspiracy.

[120] JOHN DOE #8, aka “Alex Panti,” acted as a seller for the drug trafficking
- organization.

[121] EDWIN REYES-MATOS, aka “Chiwi,” acted as a seller for the drug trafficking

organization. Additionally, he would often act as a lookout within the conspiracy.

[122] JOSE VILLALOBOS-CUEVAS, aka “Pichi,” “Peachy,” acted as a seller for the

drug trafficking organization. Additionally, he would often act as a lookout within the
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conspiracy.

[123] JOSE PEREZ-CRUZ acted as a seller for the drug trafficking organization.
Additionally, he would often act as a lookout within the conspiracy.

[124] ROSA NIEVES-ARROYO acted as a seller for the drug trafficking organization.
Additionally, she was in charge of all the lookouts within the conspiracy and of collecting the
“prote” or payment for the lookouts at each drug point.

[125] NORBERTO RIVERA-GONZALEZ, aka “Junito Barber,” acted as a seller for
the drug trafficking organization. Additionally, he would often act as a lookout within the
conspiracy.

[126] JUAN L. RODRIGUEZ-PAGAN, aka “Juan Luis, acted as a seller for the drug
trafficking organization. Additionally, he would often act as a lookout within the conspiracy.

([127] ANA O. GARCIA-GONZALEZ acted as a seller for the drug trafficking
organization.

[128] LEONARDO GUERRERA-ALVAREZ, aka “Leni,” acted as a seller for the
drug trafficking organization.

[129] JOHN DOE #9, aka “Brian,” acted as a ‘seller for the drug trafficking
organization.

[130] JOHN DOE #10, aka “Juan Carlos,” “Jan Carlos,” acted as a seller for the drug
trafficking organization.

[131] JOHN DOE #11, aka “Manuel Barba,” “Manuel,” acted as a seller for the drug
trafficking organization. Additionally, he would often act as a lookout within the conspiracy.

[132] JOHN DOE #12, aka “Julises,” “Julice,” acted as a seller for the drug trafficking

organization,
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G. Drug Processors

Drug processors would meet under. the direction of the respective drug point owners of
the drug trafficking organization in order to weigh, cut, mix, and prepare the controlled
substances for street distribution. They would also package the heroin, crack, cocaine and
marihuana in single dosage amounts into distinctive “baggies,” “decks,” and/or “vials” or adhere
the pertinent seal.

H. Lookouts

“Lookouts” would conduct surveillance at strategic locations within the Vista Hermosa
Public Housing. Project in order to detect the presence of law enforcement personnel and
members of rival gangs; they would communicate their observations to members and other look-
outs and/or sellers with two-way radios (“walkie-talkies”, scanners) and would receive payment
from the sellérs for their services as lookouts.

I. Facilitators
Some facilitators allowed the use of their apartments in the public housing project in order to”
process, store, and package narcotics for distribution. Some facilitators allowed members of the drug
trafficking organization to run and hide in their apartments to avoid police detection.

All in violation of Title 21, United States Code Sections 841(a)(1), 846 and 860.

COUNT TWO

Aiding and Abetting in the Possession/Distribution of Heroin

. Beginning on a date unknown, but no later than in or about the year 2007, and continuing up to
and until the return of the instant Indictment, in the Municipality of San Juan, District of Puerto Rico
-and within the jurisdiction of this Court,

[1] VICTOR COLON-BENCH, aka “Yogi,” “El Loco,” “El Father”
[2] CHRISTIAN ARES-FELICIANO, aka “Christian Bolillo,” “Bolillo,”
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[3] CARLOS FERNANDEZ-RODRIGUEZ, aka “Bebe el Gordo,”
[4] FELIX OMAR SANCHEZ-HERNANDEZ, aka “Omar el Mono,”
(5] MIGDALIA GUZMAN-RIVERA, aka “Doca,”
[6] JUAN GUERRA-GUZMAN, aka “Tato,” “Tatito,”
[7] JOSE ALMODOVAR-ALOMAR, aka “Papito Severa,”
[8] YARET NAVEDO-MELENDEZ, aka “Fifty,”
[9] KERMIT RIVERA-GONZALEZ aka “Kelmi,” “Bigote,”
[10] EDWARD D. MALDONADO-GONZALEZ, aka “Waro”
[11] EMANUEL SANCHEZ-RIOS, aka “Manuel el Quemao,”
[12] ENRIQUE A. MONTANER-ACEVEDO, aka “Quique,” “Kike,”
[13] GILBERTO TORRES-SERRANO, aka “Berto,”
[14] KELVIN TANCO-TORRES, aka “Bin Laden”
[15] JUAN RUIZ-DIAZ, aka “Pra Pra,”
[16] JOHN DOE #1, aka “Anto,”
[17] JORGE LOPEZ-ADORNO, aka “Minina,”
[18] OSCAR NAVARRO-LLOPIS, aka “Cali,”
[19] VICTOR ANTONNETI-SANTIAGO, aka “Vitorio,”
[20] HERIBERTO CRUZ-RODRIGUEZ, aka “Herisito,” “Heri,” “Heric,”
[21] IRVING JOEL ROMERO-COLON, aka “Joel Fino,”
[22] VICTOR GONZALEZ-VAZQUEZ, aka “Bebe Miller,”
[23] JOSE LUIS MALDONADO-PERALTA, aka “Domi,”
[24] JOHN DOE #2, aka “Rafito,” “Rafa,” Rafi,”
[25] JOHN DOE #3, aka “Pepa,”
[26] DAVID CORREA-TORRES, aka “David Parcha,”
[27] MICHAELCRUZ-GONZALEZ, aka “Mikey Mafia,” __
[28] JORGE DEL VALLE-MELENDEZ, aka “Holi,” “Holly,” “Hollow Point,”
[29] ELMER ALONSO-O’NEILL, aka “Gordo,”
[30] CARLOS NEGRON-OLIVELLA, aka “Carlosmi,” “Carlos Mil,” “Carlitos,”
[31] JOSE L. BENITEZ-RAMOS, aka “Junito,” “Bonito,”
[32] ALEX RODRIGUEZ-CIRILO, aka “Alex Tripleta,”
[33] NESTOR VELLON-GONZALEZ, aka “Nesti,”
[34] CARLOS VERDEJO-PICART, aka “Picar,”
[35] JULIO CRUZ-GUTIERREZ, aka “Julio Palanca,” “Palanca,”
[36] CARLOS M. GARCIA-HERNANDEZ, aka “Bebeo Trenzas,” “Bebe Trenzas,” “Trenzas,”
[37] JOHN DOE # 4, aka “Foot Locker,”
[38] RAFAEL TORRES-PELLOT, aka “Caballo Loco,” “Junior,”
_ [39] PABLO TORRES-COLLAZO, aka “Pablito”
[40] WILFREDO ALICEA-TORRES, aka “Dinero,”
[41] NOEL CRUZ-GARCIA, aka “Torito,”
[42] SANTOS JIMENEZ-VERDEJO, aka “Santi,”
[43] RAYMOND NAVARRO-LLOPIZ, aka Bebo,”
[44] ISRAEL REYES-COLON, aka “Chino,” “Chino Cabo,”
[45] KAREN MICHELLE VALCARCEL-CRUZ, aka “Prieta,”
[46] NELLY RIVERA-PICART
[47] LUZ MONGE-FIGUEROA, aka “Yesenia,”
[48] FLOR RIVERA-GONZALEZ
[49] GLORIMAR VELAZQUEZ-RIVERA, aka “Mother,”
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[50] RAFAEL FUENTES-ORTIZ, aka “Gaby,” “Makie,”

' [51] JOSE GUTIERREZ-ALVAREZ, aka “Pepinillo,”

[52] JOHN DOE #5, aka “Conejo,” “Goofy,”

[53] JOHN DOE #6, aka “Ramon”

[54] ROBERT HERNANDEZ-COLON, aka “Coli,”

[55] VICTOR FIGUEROA-IRIZARRY, aka “Peca,”

[56] PABLO ANDRADES-RODRIGUEZ, aka “Pablito,” “El Gordo”
[57] ALEXANDER MUNIZ-QUINONES aka “Vieques,”

[58] LUIS APONTE-PEDROZA, aka “Luis Felix,”

(59] JOSE RIVERA-HERNANDEZ, aka “Nono,” “Toston,” “Toton,” “Totonflear,”
[60} JOAN DOEH7, aka “Sisen”

[61] JOSE CRUZ-MELENDEZ, aka “Cheo,”

[62] RAMON COLON-REAL, aka “Kike,”

[63] STEVE CARRASQUILLO-BERMUDEZ, aka “Flaco,” “Chino,”
[64] JONATHAN GARCIA-LANDOL, aka “Cachete,”

[65] RICARDO GUERRERA-VIZCARRONDO, aka “Ricky,”

[66] EDWIN ANDINO-ROBLES, aka “Chango,” |

[67] EDWARD ANDINO-ROBLES, aka “Chango,” “Changuito,”
[68] CHRISTIAN ANDINO-ARROYO, aka “Christian Finfo,”

[69] HECTOR ANDINO-MATIAS, aka “Finfo,”

[70] CARMELO E. RIVERA-RIVERA

[71] ERNEST LOPEZ-ENCARNACION, aka “Chino,” “Nesti,”

[72] JOHNNY FONTANEZ-GONZALEZ, aka “Chopa,”

[73] MANUEL RIVERA-SERRANO, aka “Kike,”

[74] ALEJANDRO COLON-DE LA CRUZ, aka “Monacillo,”

[75] WILFREDO SIERRA-MERCADO, aka “Pichi,” “Peachy,”

[76] VLADIMIR STERRA-MERCED, aka “Bebe,”

[77] MARANGELIE ROMAN-AYALA, aka “Mara,”

[78] NOEMI HERNANDEZ-MUNIZ

[79] JESSICA CALDERON-ALVARADO

[80] YOLIMAR CALDERON ALVARADO, aka “Tweety,”

{81] LINETTE HERNANDEZ-GONZALEZ

[82] REBECCA RIVERA-SANCHEZ, aka “Becky,”

[83] JOSE GOMEZ-DEL VALLE

[84] FRANCHESCA MORALES-FONTANEZ, aka “Chenesca,”
[85] ROSA TORRES-CASTRO, aka “Sasha,” _

[86] DAVID ECHEVARRIA-LOPEZ, aka “David Chachi,”

[87] ALEXIS CAJIGAS-ROSARIO, aka “El Menor,”

[88] MANUEL DIAZ-DE JESUS, aka “Prieto,” “Doni,”

{89] MANUEL LOPEZ-BLANCO, aka “Domi,”

[90] ANGEL L. PAGAN-RENTAS, aka “Papito,” “Papote,” “Papotito”
[91] JESUS CRUZ-RODRIGUEZ, aka “Mamel,”

[92] MIGUEL GONZALEZ-NIEVES aka “Migue,”

[93] JUAN MARTINEZ-CRUZ, aka “Tito,”

[94] IVAN MATOS-RIOS, aka “Canario,” “Jan M. Soma Robula,” “Jean M. Soma Robula,”
[95] RICARDO MATOS-RIOS, aka “Chapu,”

[96] SAMMY MALDONADO-LOPEZ
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[97] EDWIN ROSARIO-PADILLA, aka “Macho,”

' [98] NELSON RIVERA-BENITEZ, aka “Papa, ”

[99] JOSE RODRIGUEZ-PEREZ

{100] JUAN NAZARIO-RODRIGUEZ, aka “Nazario,”

j101] PEDRO VEGA-ORTOLAZA, aka “Hari e] Susio,” “Hari,”
[102] ANGEL RAMOS-CARRERAS, aka “Bambam,”

[103] ALBA CABRERA-MINAYA

[104] GUSTAVO SANCHEZ-VAZQUEZ

[105] ABIMAEL ADORNO-MUNIZ

[106] LESTER RIVERA-GARCIA

[107] DAVID VAZQUEZ-SEGARRA, aka “Gago,”

[103] ANTONIO DIAZ-RIVERA, aka “Bebe,”

[109] JORGE ROBLES-RIVERA, aka “Jorgito,”

[110] JOGE ZAMORA-HERNANDEZ, aka “Samora,”

f{111] JUAN RIVERA-GONZALEZ, aka “Papa,”

[112] VICTOR L. RIVERA-ESQUILIN, aka “Luisito,” “Bebe Villa,”
[113] EDISON MULERO-BAEZ, aka “Teri,”

[114] JOSE RIOS-MELENDEZ, aka “Tony,” “Voltio,”

[115] HECTOR M. MARRERO-GARCTIA, aka “Guason,”
[116] ALEXANDER LEE-RAMIREZ, aka “Chino,”

[117] ANDRES PENA-DE JESUS, aka “Locura,”

[118] JUAN ROMAN -LOPEZ, aka “Pito 33,”

[119] LUIS SALGADO-GARCIA, aka “Gordo,”

[120] JOHN DOE #8, aka “Alex Panti,”

f121] EDWIN REYES-MATOS, aka “Chiwi,”

{122] JOSE VILLALOBOS-CUEVAS, aka “Pichi,” “Peachy,”
[123] JOSE PEREZ-CRUZ

[124] ROSA NIEVES-ARROYO

[125] NORBERTO RIVERA-GONZALEZ, aka “Junito Barber,”
[126] JUAN L. RODRIGUEZ-PAGAN, aka “Juan Luis,

[127] ANA O. GARCTA-GONZALEZ

[128] LEONARDO GUERRERA-ALVAREZ, aka “Leni,”
[129] JOHN DOE #9, aka “Brian,”

[130] JOHN DOE #10, aka “Juan Carlos,” “Jan Carlos,”
[131] JOHN DOE #11, aka “Manuel Barba,” “Manuel,”

[132] JOHN DOE #12, aka “Julises,” “Julice,”

the defendants herein, aiding and abetting each other, did knowingly and intentionally possess with
intent to distribute one (1) kilogram or more of a mixture or substance containing a detectable amount
of heroin, a Schedule I Narcotic Drug Controlled Substance, within one thousand (1,000) feet of the
Vista Hermosa Public Housing Project, a housing facility owned by a public housing authority; and the

Evaristo Rivera Chevremont Elementary School; all located within the Municipality of San Juan,

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Puerto Rico. All in violation of Title 21, United States Code, §§ 841(a)(1), 860; and Title 18, United

States Code, § 2.

COUNT THREE

Aiding and Abetting in the Possession/Distribution of Cocaine Base

Beginning on a date unknown, but no later than in or about the year 2007, and continuing up to
and until the return of the instant Indictment, in the Municipality of San Juan, District of Puerto Rico
and within the jurisdiction of this Court,

[1] VICTOR COLON-BENCH, aka “Yogi,” “El Loco,” “E] Father”

[2] CHRISTIAN ARES-FELICIANO, aka “Christian Bolillo,” “Bolillo,”
[3] CARLOS FERNANDEZ-RODRIGUEZ, aka “Bebe el Gordo,”

[4] FELIX OMAR SANCHEZ-HERNANDEZ, aka “Omar el Mono,”

[5] MIGDALIA GUZMAN-RIVERA, aka “Doca,”

[6] JUAN GUERRA-GUZMAN, aka “Tato,” “Tatito,”

[7] JOSE ALMODOVAR-ALOMAR, aka “Papito Severa,” ‘

{8] YARET NAVEDO-MELENDEZ, aka “Fifty,”

[9] KERMIT RIVERA-GONZALEZ aka “Kelmi,” “Bigote,”

[10] EDWARD D. MALDONADO-GONZALEZ, aka “Waro”

[11] EMANUEL SANCHEZ-RIOS, aka “Manuel ef Quemao,”

[12] ENRIQUE A. MONTANER-ACEVEDO, aka “Quique,” “Kike,”
[13] GILBERTO TORRES-SERRANO, aka “Berto,”

[14] KELVIN TANCO-TORRES, aka “Bin Laden”

[15] JUAN RUIZ-DIAZ, aka “Pra Pra,”

[16] JOHN DOE #1, aka “Anto,”

[17] JORGE LOPEZ-ADORNO, aka “Minina,”

[18] OSCAR NAVARRO-LLOPIS, aka “Cali,”

[19] VICTOR ANTONNETI-SANTIAGO, aka “Vitorio,”

[20] HERIBERTO CRUZ-RODRIGUEZ, aka “Herisito,” “Heri,” “Heric,”
(21] IRVING JOEL ROMERO-COLON, aka “Joel Fino,”

[22] VICTOR GONZALEZ-VAZQUEZ, aka “Bebe Miller,”

[23] JOSE LUIS MALDONADO-PERALTA, aka “Domi,”

[24] JOHN DOE #2, aka “Rafito,” “Rafa,” Rafi,” ,

[25] JOHN DOE #3, aka “Pepa,”

[26] DAVID CORREA-TORRES, aka “David Parcha,”

[27] MICHAELCRUZ-GONZALEZ, aka “Mikey Mafia,”

[28] JORGE DEL VALLE-MELENDEZ, aka “Holi,” “Holly,” “Hollow Point,”
[29] ELMER ALONSO-O’NEILL, aka “Gordo,”

[30] CARLOS NEGRON-OLIVELLA, aka “Carlosmi,” “Carlos Mil,” “Carlitos,”
[31] JOSE L. BENITEZ-RAMOS, aka “Junito,” “Bonito,”

[32] ALEX RODRIGUEZ-CIRILO, aka “Alex Tripleta,”

[33] NESTOR VELLON-GONZALEZ, aka “Nesti,”
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[34] CARLOS VERDEJO-PICART, aka “Picar,”

[35] JULIO CRUZ-GUTIERREZ, aka “Julio Palanca,” “Palanca,”
[36] CARLOS M. GARCIA-HERNANDEZ, aka “Bebeo Trenzas,” “Bebe Trenzas,” “Trenzas,”
[37] JOHN DOE # 4, aka “Foot Locker,”

[38] RAFAEL TORRES-PELLOT, aka “Caballo Loco,” “Junior,”
[39] PABLO TORRES-COLLAZO, aka “Pablito”

[40] WILFREDO ALICEA-TORRES, aka “Dinero,”

[41] NOEL CRUZ-GARCIA, aka “Torito,”

[42] SANTOS JIMENEZ-VERDEJO, aka “Santi,”

[43] RAYMOND NAVARRO-LLOPIZ, aka Bebo,”

[44] ISRAEL REYES-COLON, aka “Chino,” “Chino Cabo,”

[45] KAREN MICHELLE VALCARCEL-CRUZ, aka “Prieta,”

[46] NELLY RIVERA-PICART

[47] LUZ MONGE-FIGUEROA, aka “Yesenia,”

[48] FLOR RIVERA-GONZALEZ

[49] GLORIMAR VELAZQUEZ-RIVERA, aka “Mother,”

[50] RAFAEL FUENTES-ORTIZ, aka “Gaby,” “Makie,”

[51] JOSE GUTIERREZ-ALVAREZ, aka “Pepinillo,”

[52] JOHN DOE #5, aka “Conejo,” “Goofy,”

[53] JOHN DOE #6, aka “Ramon”

[54] ROBERT HERNANDEZ-COLON, aka “Coli,”

[55] VICTOR FIGUEROA-IRIZARRY, aka “Peca,”

[56] PABLO ANDRADES-RODRIGUEZ, aka “Pablito,” “El Gordo”
[57] ALEXANDER MUNIZ-QUINONES aka “Vieques,”

{58] LUIS APONTE-PEDROZA, aka “Luis Felix,”
[59] JOSE RIVERA-HERNANDEZ, aka “Nono,” “Toston,” “Toton,” “Totonflear,”
[60] JOHN DOE#7, aka “Sisen”
[61] JOSE CRUZ-MELENDEZ, aka “Cheo,”

[62] RAMON COLON-REAL, aka “Kike,”

[63] STEVE CARRASQUILLO-BERMUDEZ, aka “Flaco,” “Chino,”
164] JONATHAN GARCIA-LANDOL, aka “Cachete,”

[65] RICARDO GUERRERA-VIZCARRONDO, aka “Ricky,”

[66] EDWIN ANDINO-ROBLES, aka “Chango,”

[67] EDWARD ANDINO-ROBLES, aka “Chango,” “Changuito,”
[68] CHRISTIAN ANDINO-ARROYO, aka “Christian Finfo,”

{69] HECTOR ANDINO-MATIAS, aka “Finfo,”

{70] CARMELO E. RIVERA-RIVERA

[71] ERNEST LOPEZ-ENCARNACION, aka “Chino,” “Nesti,”

_ [72] JOHNNY FONTANEZ-GONZALEZ, aka “Chopa,”

[73] MANUEL RIVERA-SERRANO, aka “Kike,”

[74] ALEJANDRO COLON-DE LA CRUZ, aka “Monacillo,”

175] WILFREDO SIERRA-MERCADO, aka “Pichi,” “Peachy,”

[76] VLADIMIR SIERRA-MERCED, aka “Bebe,”

[77] MARANGELIE ROMAN-AYALA, aka “Mara,”

[78] NOEMI HERNANDEZ-MUNIZ

[79] JESSICA CALDERON-ALVARADO

[80] YOLIMAR CALDERON ALVARADO, aka “Tweety,”
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[81] LINETTE HERNANDEZ-GONZALEZ

{82] REBECCA RIVERA-SANCHEZ, aka “Becky,”

[83] JOSE GOMEZ-DEL VALLE __. ,

[84] FRANCHESCA MORALES-FONTANEZ, aka “Chenesca,”
[85] ROSA TORRES-CASTRO, aka “Sasha,”

[86] DAVID ECHEVARRIA-LOPEZ, aka “David Chachi,”

[87] ALEXIS CAJIGAS-ROSARIO, aka “El Menor,”

[88] MANUEL DIAZ-DE JESUS, aka “Prieto,” “Domi,”

{89] MANUEL LOPEZ-BLANCO, aka “Domi,”
[90] ANGEL L. PAGAN-RENTAS, aka “Papito,” “Papote,” “Papotito”
[91] JESUS CRUZ-RODRIGUEZ, aka “Mamel,”

[92] MIGUEL GONZALEZ-NIEVES aka “Migue,”

[93] JUAN MARTINEZ-CRUZ, aka “Tito,”

[94] IVAN MATOS-RIOS, aka “Canario,” “Jan M. Soma Robula,” “Jean M. Soma Robula,”
[95] RICARDO MATOS-RIOS, aka “Chapu,”

[96] SAMMY MALDONADO-LOPEZ

[97] EDWIN ROSARIO-PADILLA, aka “Macho,”

[98] NELSON RIVERA-BENITEZ, aka “Papa,”

[99] JOSE RODRIGUEZ-PEREZ

[100] JUAN NAZARIO-RODRIGUEZ, aka “Nazario,”

[101] PEDRO VEGA-ORTOLAZA, aka “Hari el Susio,” “Hari,”
102] ANGEL RAMOS-CARRERAS, aka “Bambam,”
[103] ALBA CABRERA-MINAYA

[104] GUSTAVO SANCHEZ-VAZQUEZ

[105] ABIMAEL ADORNO-MUNIZ

[106] LESTER RIVERA-GARCIA

[107] DAVID VAZQUEZ-SEGARRA, aka “Gago,”

{108} ANTONIO DIAZ-RIVERA, aka “Bebe,”

[109] JORGE ROBLES-RIVERA, aka “Jorgito,”

[110] JOGE ZAMORA-HERNANDE/Z, aka “Samora,”

[111] JUAN RIVERA-GONZALEZ, aka “Papa,”

[112] VICTOR L. RIVERA-ESQUILIN, aka “Luisito,” “Bebe Villa,”
[113] EDISON MULERO-BAEZ, aka “Teri,”

{114} JOSE RIOS-MELENDEZ, aka “Tony,” “Voltio,”

[115] HECTOR M. MARRERO-GARCIA, aka “Guason,”

[116] ALEXANDER LEE-RAMIREZ, aka “Chino,”

[117] ANDRES PENA-DE JESUS, aka “Locura,”

(118] JUAN ROMAN-LOPEZ, aka “Pito 38,”

[119] LUIS SALGADO-GARCIA, aka “Gordo,”

[120] JOHN DOE #8, aka “Alex Panti,”

' (121] EDWIN REYES-MATOS, aka “Chiwi,”

[122] JOSE VILLALOBOS-CUEVAS, aka “Pichi,” “Peachy,”
[123] JOSE PEREZ-CRUZ

[124] ROSA NIEVES-ARROYO

[125] NORBERTO RIVERA-GONZALEZ, aka “Junito Barber,”
[126] JUAN L. RODRIGUEZ-PAGAN, aka “Juan Luis,

[127] ANA O, GARCIA-GONZALEZ
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[128] LEONARDO GUERRERA-ALVAREZ, aka “Leni,”

[129] JOHN DOE #9, aka “Brian,”

[130] JOHN DOE #10, aka “Juan Carlos,” “Jan Carlos,”

[131] JOHN DOE #11, aka “Manuel Barba,” “Manuel,”

[132] JOHN DOE #12, aka “Julises,” “Julice,”

the defendants herein, aiding and abetting each other, did knowingly and intentionally possess with
intent to distribute two hundred eighty (280) grams or more of a mixture or substance containing a
detectable amount of cocaine base (Crack), a Schedule II Narcotic Drug Controlled Substance, within

one thousand (1,000) feet of the Vista Hermosa Public Housing Project, a housing facility owned by a

public housing authority: and the Evaristo Rivera Chevremont Elementary School; all located within

the Municipality of San Juan, Puerto Rico. All in violation of Title 21, United States Code, §§

841(a)(1), 860; and Title 18, United States Code, § 2.

COUNT FOUR

Aiding and Abetting in the Possession/Distribution of Cocaine

Beginning on a date unknown, but no later than in or about the year 2007, and continuing up to
and until the return of the instant Indictment, in the Municipality of San Juan, District of Puerto Rico
and within the jurisdiction of this Court,

{1] VICTOR COLON-BENCH, aka “Yogi,” “El Loco,” “El Father”

[2] CHRISTIAN ARES-FELICIANO, aka “Christian Bolillo,” “Bolillo,”
[3] CARLOS FERNANDEZ-RODRIGUEZ, aka “Bebe el Gordo,”

[4] FELIX OMAR SANCHEZ-HERNANDEZ, aka “Omar el Mono,”
[5] MIGDALIA GUZMAN-RIVERA, aka “Doca,”

[6] JUAN GUERRA-GUZMAN, aka “Tato,” “Tatito,”

[7] JOSE ALMODOVAR-ALOMAR, aka “Papito Severa,”

[8] YARET NAVEDO-MELENDEZ, aka “Fifty,”

[9] KERMIT RIVERA-GONZALEZ aka “Kelmi,” “Bigote,”

[10] EDWARD D. MALDONADO-GONZALEZ, aka “Waro”

[11] EMANUEL SANCHEZ-RIOS, aka “Manuel el Quemao,”

[12] ENRIQUE A. MONTANER-ACEVEDO, aka “Quique,” “Kike,”
[13] GILBERTO TORRES-SERRANO, aka “Berto,”
[14] KELVIN TANCO-TORRES, aka “Bin Laden”

[15] JUAN RUIZ-DIAZ, aka “Pra Pra,”
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[16] JOHN DOE #1, aka “Anto,”

[17] JORGE LOPEZ-ADORNO, aka “Minina,”

[18] OSCAR NAVARRO-LLOPIS, aka “Cali,”

[19] VICTOR ANTONNETI-SANTIAGO, aka “Vitorio,”

[20] HERIBERTO CRUZ-RODRIGUEZ, aka “Herisito,” “Heri,” “Heric,”
[21] IRVING JOEL ROMERO-COLON, aka “Joel Fino,”

[22] VICTOR GONZALEZ-VAZQUEZ, aka “Bebe Miller,”

[23] JOSE LUIS MALDONADO-PERALTA, aka “Domi,”

[24] JOHN DOE #2, aka “Rafito,” “Rafa,” Rafi,”

[25] JOHN DOE #3, aka “Pepa,”

[26] DAVID CORREA-TORRES, aka “David Parcha,”

[27] MICHAELCRUZ-GONZALEZ, aka “Mikey Mafia,”

[28] JORGE DEL VALLE-MELENDEZ, aka “Holi,” “Holly,” “Hollow Point,”
[29] ELMER ALONSO-O’NEILL, aka “Gordo,”

[30] CARLOS NEGRON-OLIVELLA, aka “Carlosmi,” “Carlos Mil,” “Carlitos,”
[31] JOSE L. BENITEZ-RAMOS, aka “Junito,” “Bonito,”

[32] ALEX RODRIGUEZ-CIRILO, aka “Alex Tripleta,”

[33] NESTOR VELLON-GONZALEZ, aka “Nesti,”

[34] CARLOS VERDEJO-PICART, aka “Picar,”

[35] JULIO CRUZ-GUTIERREZ, aka “Julio Palanca,” “Palanca,”

[36] CARLOS M. GARCTA-HERNANDEZ, aka “Bebeo Trenzas,” “Bebe Trenzas,” “Trenzas,”
[37] JOHN DOE # 4, aka “Foot Locker,”

[38] RAFAEL TORRES-PELLOT, aka “Caballo Loco,” “Junior,”

[39] PABLO TORRES-COLLAZO, aka “Pablito”

[40] WILFREDO ALICEA-TORRES, aka “Dinero,”

[41] NOEL CRUZ-GARCIA, aka “Torito,”

[42] SANTOS JIMENEZ-VERDEJO, aka “Santi,”

[43] RAYMOND NAVARRO-LLOPIZ, aka Bebo,”

' [44] ISRAEL REYES-COLON, aka “Chino,” “Chino Cabo,”

[45] KAREN MICHELLE VALCARCEL-CRUZ, aka “Prieta,”

[46] NELLY RIVERA-PICART

[47] LUZ MONGE-FIGUEROA, aka “Yesenia,”

[48] FLOR RIVERA-GONZALEZ

[49] GLORIMAR VELAZQUEZ-RIVERA, aka “Mother,”

[50] RAFAEL FUENTES-ORTIZ, aka “Gaby,” “Makie,”

[51] JOSE GUTIERREZ-ALVAREZ, aka “Pepinillo,”

{52] JOHN DOE #5, aka “Conejo,” “Goofy,”

[53] JOHN DOE #6, aka “Ramon”

[54] ROBERT HERNANDEZ-COLON, aka “Coli,”

[55] VICTOR FIGUEROA-IRIZARRY, aka “Peca,”

[56] PABLO ANDRADES-RODRIGUEZ, aka “Pablito,” “El Gordo”

[57] ALEXANDER MUNIZ-QUINONES aka “Vieques,”

[58] LUIS APONTE-PEDROZA, aka “Luis Felix,” |

[59] JOSE RIVERA-HERNANDEZ, aka “Nono,” “Toston,” “Toton,” “Totonflear,”
[60] JOHN DOE#7, aka “Sisen”

[61] JOSE CRUZ-MELENDEZ, aka “Cheo,”

[62] RAMON COLON-REAL, aka “Kike,”
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[63] STEVE CARRASQUILLO-BERMUDEZ, aka “Flaco,” “Chino,”
[64] JONATHAN GARCIA-LANDOL, aka “Cachete,”

[65] RICARDO GUERRERA-VIZCARRONDO, aka “Ricky,”
[66] EDWIN ANDINO-ROBLES, aka “Chango,”
[67] EDWARD ANDINO-ROBLES, aka “Chango,” “Changuito,”
[68] CHRISTIAN ANDINO-ARROYO, aka “Christian Finfo,”
[69] HECTOR ANDINO-MATIAS, aka “Finfo,”

[70] CARMELO E. RIVERA-RIVERA

[71] ERNEST LOPEZ-ENCARNACION, aka “Chino,” “Nesti,”
[72] JOHNNY FONTANEZ-GONZALEZ, aka “Chopa,”

[73] MANUEL RIVERA-SERRANO, aka “Kike,”

[74] ALEJANDRO COLON-DE LA CRUZ, aka “Monacillo,”
[75] WILFREDO SIERRA-MERCADO, aka “Pichi,” “Peachy,” .
[76] VLADIMIR SIERRA-MERCED, aka “Bebe,”

[77] MARANGELIE ROMAN-AYALA, aka “Mara,”

[78] NOEMI HERNANDEZ-MUNIZ

[79] JESSICA CALDERON-ALVARADO

{80] YOLIMAR CALDERON ALVARADO, aka “Tweety,”

[81] LINETTE HERNANDEZ-GONZALEZ

[82] REBECCA RIVERA-SANCHEZ, aka “Becky,”

[83] JOSE GOMEZ-DEL VALLE

[84] FRANCHESCA MORALES-FONTANEZ, aka “Chenesca,”
[85] ROSA TORRES-CASTRO, aka “Sasha,”

[86] DAVID ECHEVARRIA-LOPEZ, aka “David Chachi,”

[87] ALEXIS CAJIGAS-ROSARIO, aka “El Menor,”

[88] MANUEL DIAZ-DE JESUS, aka “Prieto,” “Domi,”

[89] MANUEL LOPEZ-BLANCO, aka “Domi,” .

[90] ANGEL L. PAGAN-RENTAS, aka “Papito,” “Papote,” “Papotito”
[91] JESUS CRUZ-RODRIGUEZ, aka “Mamel,”

[92] MIGUEL GONZALEZ-NIEVES aka “Migue,”

[93] JUAN MARTINEZ-CRUZ, aka “Tito,”

[94] IVAN MATOS-RIOS, aka “Canario,” “Jan M. Soma Robula,” “Jean M. Soma Robula,”
[95] RICARDO MATOS-RIOS, aka “Chapu,”

[96] SAMMY MALDONADO-LOPEZ

[97] EDWIN ROSARIO-PADILLA, aka “Macho,”

[98] NELSON RIVERA-BENITEZ, aka “Papa,”

[99] JOSE RODRIGUEZ-PEREZ

[100] JUAN NAZARIO-RODRIGUEZ, aka “Nazario,”

[101] PEDRO VEGA-ORTOLAZA, aka “Hari el Susio,” “Hari,”
[102] ANGEL RAMOS-CARRERAS, aka “Bambam,”

[103] ALBA CABRERA-MINAYA

[104] GUSTAVO SANCHEZ-VAZQUEZ

[105] ABIMAEL ADORNO-MUNIZ

[106] LESTER RIVERA-GARCIA |

[107] DAVID VAZQUEZ-SEGARRA, aka “Gago,”

[108] ANTONIO DIAZ-RIVERA, aka “Bebe,”

[109] JORGE ROBLES-RIVERA, aka “Jorgito,”
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[110] JOGE ZAMORA-HERNANDEZ, aka “Samora,”

{111] JUAN RIVERA-GONZALEZ, aka “Papa,”

[112] VICTOR L. RIVERA-ESQUILIN, aka “Luisito,” “Bebe Villa,”
[113] EDISON MULERO-BAEZ, aka “Teri,”

[114] JOSE RIOS-MELENDEZ, aka “Tony,” “Voltio,”

[115] HECTOR M. MARRERO-GARCTIA, aka “Guason,”
116] ALEXANDER LEE-RAMIREZ, aka “Chino,”

[117] ANDRES PENA-DE JESUS, aka “Locura,” |

[118] JUAN ROMAN-LOPEZ, aka “Pito 38,”

[119] LUIS SALGADO-GARCTIA, aka “Gordo,”

[120] JOHN DOE #8, aka “Alex Panti,”

[121] EDWIN REYES-MATOS, aka “Chiwi,”

{122] JOSE VILLALOBOS-CUEVAS, aka “Pichi,” “Peachy,”
[123] JOSE PEREZ-CRUZ

[124] ROSA NIEVES-ARROYO

[125] NORBERTO RIVERA-GONZALEZ, aka “Junito Barber,”
[126] JUAN L. RODRIGUEZ-PAGAN, aka “Juan Luis,

[127] ANA O. GARCIA-GONZALEZ

[128] LEONARDO GUERRERA-ALVAREZ, aka “Leni,”
[129] JOHN DOE #9, aka “Brian,”

[130] JOHN DOE #10, aka “Juan Carlos,” “Jan Carlos,”
[131] JOHN DOE #11, aka “Manuel Barba,” “Manuel,”

{132] JOHN DOE #12, aka “Julises,” “Julice,” i

the defendants herein, aiding and abetting each other, did knowingly and intentionally possess with

intent to distribute five (5) kilograms or more of a mixture or substance containing a detectable amount

of cocaine, a Schedule II Narcotic Drug Controlled Substance, within one thousand (1,000) feet of the

Vista Hermosa Public Housing Project, a housing facility owned by a public housing authority; and the

Evaristo Rivera Chevremont Elementary School; all located within the Municipality of San Juan,

Puerto Rico. All in violation of Title 21, United States Code, §§ 841(a)(1), 860; and Title 18, United

States Code, § 2.\

COUNT FIVE
Aiding and Abetting in the Distribution of Marijuana

Beginning on a date unknown, but no later than in or about the year 2007, and continuing up to

and until the return of the instant Indictment, in the Municipality of San Juan, District of Puerto Rico
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and within the jurisdiction of this Court,

{1} VICFOR COLON-BENCH, aka “Yogi,” “EI Loco,” “El Father”

[2] CHRISTIAN ARES-FELICIANO, aka “Christian Bolillo,” “Bolillo,”
[3] CARLOS FERNANDEZ-RODRIGUEZ, aka “Bebe el Gordo,”

[4] FELIX OMAR SANCHEZ-HERNANDEZ, aka “Omar el Mono,”

[5] MEGDALIA GUZMAN-RIVERA, aka “Doca,”

[6] JUAN GUERRA-GUZMAN, aka “Tato,” “Tatito,”

[7] JOSE ALMODOVAR-ALOMAR, aka “Papito Severa,”

[3] YARET NAVEDO-MELENDEZ, aka “Fifty,”

[9] KERMIT RIVERA-GONZALEZ aka “Kelmi,” “Bigote,”

[10] EDWARD D. MALDONADO-GONZALEZ, aka “Waro”

[11] EMANUEL SANCHEZ-RIOS, aka “Manuel el Quemao,”

[12] ENRIQUE A. MONTANER-ACEVEDO, aka “Quique,” “Kike,”
[13] GILBERTO TORRES-SERRANO, aka “Berto,”

[14] KELVIN TANCO-TORRES, aka “Bin Laden”

[15] JUAN RUIZ-DIAZ, aka “Pra Pra,”

[16] JOHN DOE 41, aka “Anto,”

[17] JORGE LOPEZ-ADORNO, aka “Minina,”

[18] OSCAR NAVARRO-LLOPIS, aka “Cali,”

19] VICTOR ANTONNETI-SANTIAGO, aka “Vitorio,”

[20] HERIBERTO CRUZ-RODRIGUEZ, aka “Herisito,” “Heri,” “Heric,”
[21] IRVING JOEL ROMERO-COLON, aka “Joel Fino,”

[22] VICTOR GONZALEZ-VAZQUEZ, aka “Bebe Miller,”

[23] JOSE LUIS MALDONADO-PERALTA, aka “Domi,”

[24] JOHN DOE #2, aka “Rafito,” “Rafa,” Rafi,”

[25] JOHN DOE #3, aka “Pepa,”

[26] DAVID CORREA-TORRES, aka “David Parcha,”

[27] MICHAELCRUZ-GONZALEZ, aka “Mikey Mafia,”

[28] JORGE DEL VALLE-MELENDEZ, aka “Holi,” “Holly,” “Hollow Point,”
[29] ELMER ALONSO-O’NEILL, aka “Gordo,”

[30] CARLOS NEGRON-OLIVELLA, aka “Carlosmi,” “Carlos Mil,” “Carlitos,”
[31] JOSE L. BENITEZ-RAMOS, aka “Junito,” “Bonito,”

[32] ALEX RODRIGUEZ-CIRILO, aka “Alex Tripleta,”

[33] NESTOR VELLON-GONZALEZ, aka “Nesti,”

[34] CARLOS VERDEJO-PICART, aka “Picar,”

[35] JULIO CRUZ-GUTIERREZ, aka “Julio Palanca,” “Palanca,”

[36] CARLOS M. GARCIA-HERNANDEZ, aka “Bebeo Trenzas,” “Bebe Trenzas,” “Trenzas,”
[37] JOHN DOE # 4, aka “Foot Locker,”

[38] RAFAEL TORRES-PELLOT, aka “Caballo Loco,” “Junior,”

[39] PABLO TORRES-COLLAZO, aka “Pablito”

[40] WILFREDO ALICEA-TORRES, aka “Dinero,”

[41] NOEL CRUZ-GARCIA, aka “Torito,” |

[42] SANTOS JIMENEZ-VERDEJO, aka “Santi,”

[43] RAYMOND NAVARRO-LLOPIZ, aka Bebo,”

[44] ISRAEL REYES-COLON, aka “Chino,” “Chino Cabo,”

[45] KAREN MICHELLE VALCARCEL-CRUZ, aka “Prieta,”
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[46] NELLY RIVERA-PICART

[47] LUZ MONGE-FIGUEROA, aka “Yesenia,”

[48] FLOR RIVERA-GONZALEZ

[49] GLORIMAR VELAZQUEZ-RIVERA, aka “Mother,”

[50] RAFAEL FUENTES-ORTIZ, aka “Gaby,” “Makie,”

[51] JOSE GUTIERREZ-ALVAREZ, aka “Pepinillo,”

[52] JOHN DOE #5, aka “Conejo,” “Goofy,”

[53] JOHN DOE #6, aka “Ramon” —

[54] ROBERT HERNANDEZ-COLON, aka “Coli,”

[55] VICTOR FIGUEROA-IRIZARRY, aka “Peca,”

[56] PABLO ANDRADES-RODRIGUEZ, aka “Pablito,” “El Gordo”
[57] ALEXANDER MUNIZ-QUINONES aka “Vieques,”

[58] LUIS APONTE-PEDROZA, aka “Luis Felix,”

[59] JOSE RIVERA-HERNANDEZ, aka “Nono,” “Toston,” “Toton,” “Totontlear,”
[60] JOHN DOE#?7, aka “Sisen”

[61] JOSE CRUZ-MELENDEZ, aka “Cheo, ”

[62] RAMON COLON-REAL, aka “Kike,”

[63] STEVE CARRASQUILLO-BERMUDEZ, aka “Flaco,” “Chino,”.
[64] JONATHAN GARCIA-LANDOL, aka “Cachete,”

[65] RICARDO GUERRERA-VIZCARRONDO, aka “Ricky,”
[66] EDWIN ANDINO-ROBLES, aka “Chango,”

[67] EDWARD ANDINO-ROBLES, aka “Chango,” “Changuito,”
[68] CHRISTIAN ANDINO-ARROYO, aka “Christian Finfo,”
[69] HECTOR ANDINO-MATIAS, aka “Finfo,”

[70] CARMELO E. RIVERA-RIVERA

[71] ERNEST LOPEZ-ENCARNACION, aka “Chino,” “Nesti,”
172] JOHNNY FONTANEZ-GONZALEZ, aka “Chopa,”

[73] MANUEL RIVERA-SERRANO, aka “Kike,”

[74] ALEJANDRO COLON-DE LA CRUZ, aka “Monacillo,”
[75] WILFREDO STIERRA-MERCADO, aka “Pichi,” “Peachy,”
[76] VLADIMIR SIERRA-MERCED, aka “Bebe,”

[77] MARANGELIE ROMAN-AYALA, aka “Mara,”

[78] NOEMI HERNANDEZ-MUNIZ

[79] JESSICA CALDERON-ALVARADO

[80] YOLIMAR CALDERON ALVARADO, aka “Tweety,”

[81] LINETTE HERNANDEZ-GONZALEZ

[82] REBECCA RIVERA-SANCHEZ, aka “Becky,”

[83] JOSE GOMEZ-DEL VALLE

[84] FRANCHESCA MORALES-FONTANEZ, aka “Chenesca,”
[85] ROSA TORRES-CASTRO, aka “Sasha,”

[86] DAVID ECHEVARRIA-LOPEZ, aka “David Chachi,”

[87] ALEXIS CAJIGAS-ROSARIO, aka “El Menor,” —

[88] MANUEL DIAZ-DE JESUS, aka “Prieto,” “Domi,”

[89] MANUEL LOPEZ-BLANCO, aka “Domi,”

[90] ANGEL L. PAGAN-RENTAS, aka “Papito,” “Papote,” “Papotito”
{91} JESUS CRUZ-RODRIGUEZ, aka “Mamel,”

[92] MIGUEL GONZALEZ-NIEVES aka “Migue,”
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[93] JUAN MARTINEZ-CRUZ, aka “Tito,” ©
[94] IVAN MATOS-RIOS, aka “Canario,” “Jan M. Soma Robula,” “Jean M. Soma Robula,”
[95] RICARDO MATOS-RIOS, aka “Chapu,”
[96] SAMMY MALDONADO-LOPEZ,
[97] EDWIN ROSARIO-PADILLA, aka “Macho,”
[98] NELSON RIVERA-BENITEZ, aka “Papa,”
[99] JOSE RODRIGUEZ-PEREZ
[100] JUAN NAZARIO-RODRIGUEZ, aka “Nazario,”
[101] PEDRO VEGA-ORTOLAZA, aka “Hari el Susio,” “Hari,”
[102] ANGEL RAMOS-CARRERAS, aka “Bambam,”
[103] ALBA CABRERA-MINAYA
[104] GUSTAVO SANCHEZ-VAZQUEZ
[105] ABIMAEL ADORNO-MUNIZ,
[106] LESTER RIVERA-GARCIA
[107] DAVID VAZQUEZ-SEGARRA, aka “Gago,”
{108] ANTONIO DIAZ-RIVERA, aka “Bebe,”
[109] JORGE ROBLES-RIVERA, aka “Jorgito,”
[110] JOGE ZAMORA-HERNANDEZ, aka “Samora,”
[111] JUAN RIVERA-GONZALEZ, aka “Papa,”
[112] VICTOR L. RIVERA-ESQUILIN, aka “Luisito,” “Bebe Villa,”
[113] EDISON MULERO-BAEZ, aka “Teri,”
[114] JOSE REOS-MELENDE7Z, aka “Tony,” “Voltio,”
[113] HECTOR M. MARRERO-GARCIA, aka “Guason,”
[116] ALEXANDER LEE-RAMIREZ, aka “Chino,”
[117] ANDRES PENA-DE JESUS, aka “Locura,”
[118] JUAN ROMAN-LOPEZ, aka “Pito 38,”
[119] LUIS SALGADO-GARCIA, aka “Gordo,”
[120] JOHN DOE #8, aka “Alex Panti,”
[121] EDWIN REYES-MATOS, aka “Chiwi,”
[122] JOSE VILLALOBOS-CUEVAS, aka “Pichi,” “Peachy,”
[123] JOSE PEREZ-CRUZ
[124] ROSA NIEVES-ARROYO
J125] NORBERTO RIVERA-GONZALEZ, aka “Junito Barber,”
[126] JUAN L. RODRIGUEZ-PAGAN, aka “Juan Luis,
[127] ANA O. GARCTA-GONZALEZ
{128} LEONARDO GUERRERA-ALVAREZ, aka “Leni,”
[129] JOHN DOE #9, aka “Brian,”
1130] JOHN DOE #10, aka “Juan Carlos,” “Jan Carlos,”
[131] JOHN DOE #11, aka “Manuel Barba,” “Manuel,”
[132] JOHN DOE #12, aka “Julises,” “Julice,”

the defendants herein, aiding and abetting each other, did knowingly and intentionally possess with
intent to distribute one hundred (100) kilograms or more of a mixture or substance containing a

detectable amount of marijuana, a Schedule I Controlled Substance, within one thousand (1,000) feet
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of the Vista Hermosa Public Housing Project, a housing facility owned by a public housing authority;

and the Evaristo Rivera Chevremont Elementary School; all located within the Municipality of San

Juan, Puerto Rico. All in violation of Title 21, United States Code, §§ 841(a)(1), 860; and Title 18,

United States Code, § 2.

COUNT SIX . . ,

Conspiracy to Possess Firearms During and in Relation to Narcotics Trafficking Offenses

Beginning on a date unknown, but no later than in or about the year 2007, and continuing up to
~ and until the retum of the instant Indictment, in the Municipality of San Juan, District of Puerto Rico
and within the jurisdiction of this. Court,

[1] VECTOR COLON-BENCH, aka “Yogi,” “El Loco,” “El Father”

{2} CHRISTIAN ARES-FELICIANO, aka “Christian Bolillo,” “Bolillo,”
[3] CARLOS FERNANDEZ-RODRIGUEZ, aka “Bebe el Gordo,”

[4] FELIX OMAR SANCHEZ-HERNANDEZ, aka “Omar el Mono,”

[6] JUAN GUERRA-GUZMAN, aka “Tato,” “Tatito,”

[7] JOSE ALMODOVAR-ALOMAR, aka “Papito Severa,”

[8] YARET NAVEDO-MELENDEZ, aka “Fifty,”

[9] KERMIT RIVERA-GONZALEZ aka “Kelmi,” “Bigote,”

[10] EDWARD D. MALDONADO-GONZALEZ, aka “Waro”

[11] EMANUEL SANCHEZ-RIOS, aka “Manuel el Quemao,”

[12] ENRIQUE A. MONTANER-ACEVEDO, aka “Quique,” “Kike,”
[13] GILBERTO TORRES-SERRANO, aka “Berto,”

[14] KELVIN TANCO-TORRES, aka “Bin Laden”

[15] JUAN RUIZ-DIAZ, aka “Pra Pra,”

[22] VICTOR GONZALEZ-VAZQUEZ, aka “Bebe Miller,”

[27] MICHAELCRUZ-GONZALEZ, aka “Mikey Mafia,”

[28] JORGE DEL VALLE-MELENDEZ, aka “Holi,” “Holly,” “Hollow Point,”
[36] CARLOS NEGRON-OLIVELLA, aka “Carlosmi,” “Carlos Mil,” “Carlitos,”
[31] JOSE L. BENITEZ-RAMOS, aka “Junito,” “Bonito,”

[32] ALEX RODRIGUEZ-CIRILO, aka “Alex Tripleta,”

[44] ISRAEL REYES-COLON, aka “Chino,” “Chino Cabo,”

[54] ROBERT HERNANDEZ-COLON, aka “Coli,”

[35] VICTOR FIGUEROA-IRIZARRY, aka “Peca,”

[56] PABLO ANDRADES-RODRIGUEZ, aka “Pablito,” “El Gordo”
[57] ALEXANDER MUNIZ-QUINONES aka “Vieques,”

[66] EDWIN ANDINO-ROBLES, aka “Chango,”
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the defendants herein, did knowingly and intentionally conspire, combine, and agree with each other
and diverse other persons known and unknown to the Grand Jury, to commit an offense against the
United States, that is, to possess firearms and ammunition during and in relation to a drug trafficking
crime as charged in Counts One through Five of this Indictment, which offenses may be prosecuted in

a Court of the United States, in violation of Title 18; United States Code, Section 924(c)(1)(A); all in

violation of Title 18, United States Code, Section 924(o).

NARCOTICS FORFEITURE ALLEGATION

Upon conviction of one or more of the offenses alleged in Counts One (1) through Six (6) of

this Indictment, pursuant to Title 21, United States Code, Section 853 and Title 18, United States

Code, Section 982(2)(1), each defendant who is convicted of one or more of the offenses set forth in
said counts, shall forfeit to the United States the following property:

a. All right, title, and interest in any and all property involved in each offense in violation
of Title 21, United States Code, Section 846, for which the defendants are convicted, and all property
traceable to such property, including the following: 1) all commissions, fees and other property
constituting proceeds obtained as a result of those violations; and 2) all property used in any manner or
part to commit or to facilitate the commission of those violations.

b. A sum of money equal to the total amount of money involved in each offense, or
conspiracy to commit such offense, for which the defendant is convicted, to wit: sixty million dollars
($60,000,000.00) in U.S. Currency. If more than one defendant is convicted of an offense, the
defendants so convicted are jointly and severally liable for the amount involved in such offense.

c, Pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title 18,

United States Code, Section 982(b), each defendant shall forfeit substitute property, up to the value of

the amount described in paragraph one (1), if, by any act or omission of the defendant, the property
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described in paragraph one (1), or any portion thereof, cannot be located upon the exercise of due
diligence; has been transferred, sold to or deposited with a third party; has been placed beyond the
Jurisdiction of the court; has been substantially diminished in value; or has been commingled with

other property which cannot be divided without difficulty.

‘All in accordance with Title 18, United States Code, Sections 853 and 982(a)(1} and Rule

" 32.2(a) of the Federal Rules of Criminal Procedure.

/~ TRUE BILL

ROSA EMILIA RODRIGUEZ-VELEZ
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Sen: José uiz-Santiago ph A Mariana E. Bauz4-Afmnonte
Assiétant United States Atto Assistant United States Attorney
Chef, Criminal Division 1/19 [2010 .

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Timothy Henwood
Assistant United States Attorney
Chief, Narcotics Unit

